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                               Exhibit A-5
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     1             IN THE UNITED STATES DISTRICT COURT
     2             FOR THE SOUTHERN DISTRICT OF FLORIDA
     3                          MIAMI DIVISION
     4   _____________________________________
                                              )
     5   FARHAD AZIMA,                        )
                                              )
     6                       Petitioner,      )
                                              )
     7   vs.                                  ) Case No.:
                                              ) 1:22-MC-20707
     8   INSIGHT ANALYSIS AND RESEARCH LLC    )
         AND SDC-GADOT LLC,                   )
     9                                        )
                             Respondents.     )
    10   _____________________________________)
    11
    12
    13
    14               Videotaped 30(b)(6) Deposition of
    15                          SDC-GADOT LLC
    16         by and through its Corporate Representative
    17                           AMIT FORLIT
    18                    Wednesday, July 20, 2022
    19                11:09 a.m. Israel Daylight Time
    20
    21
    22
    23
    24
    25   Reported by: BRENDA MATZOV, CSR NO. 9243

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     1               Videoconference 30(b)(6) deposition
     2   of SDC-GADOT LLC, by and through its Corporate
     3   Representative, AMIT FORLIT, taken in the
     4   above-entitled cause pending in the United
     5   States District Court, for the Southern
     6   District of Florida, Miami Division, before
     7   BRENDA MATZOV, CSR NO. 9243, at the David
     8   Intercontinental Hotel, Tel Aviv, Israel,
     9   and simultaneously in the Zoom participants'
    10   remote locations, on Wednesday, the 20th
    11   day of July, 2022, at 11:09 a.m. Israel
    12   Daylight Time.
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     1   APPEARANCES:
     2   FOR PETITIONER:
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     6               elan@baretlawgroup.com
     7
     8   FOR RESPONDENTS:
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     1   APPEARANCES (Continued):
     2   ALSO PRESENT (in Israel):
     3               MITCHELL COOPERSMITH, Videographer
     4               HAYA SHAVIT-KEDAR, Hebrew Interpreter
     5               RUCHIE AVITAL, Hebrew Interpreter
     6
     7   ALSO PRESENT (remotely via Zoom):
     8               LESLEY SEMONES, Miller & Chevalier
     9               FREDERICK WILMOT-SMITH, Burlingtons Legal
    10               LUKE HACKETT, Burlingtons Legal
    11               FARHAD AZIMA
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     1                             I N D E X
     2   WITNESS
     3   Amit Forlit
     4   (Witness Location: Tel Aviv, Israel)
     5
     6   EXAMINATION                                             PAGE
     7   By Mr. Behre                                               11
     8
     9                         E X H I B I T S
    10   NUMBER            DESCRIPTION                         MARKED
    11   Exhibit 1         Document Entitled
                           "Subpoena to Produce
    12                     Documents, Information,
                           or Objects or to Permit
    13                     Inspection of Premises in
                           a Civil Action," Service
    14                     Date March 23, 2022
                           (No Bates Number)                        45
    15
         Exhibit 2         Document Entitled
    16                     "Electronic Articles of
                           Organization for Florida
    17                     Limited Liability Company,"
                           for SDC-Gadot LLC, Date
    18                     Filed October 18, 2017,
                           and Related Documents
    19                     (No Bates Number)                        61
    20   Exhibit 3         Two Affidavits of Amit
                           Forlit, Dated May 12, 2022,
    21                     and June 1, 2022
                           (No Bates Number)                        73
    22
         Exhibit 4         Multiple Citibank Bank
    23                     Statements for SDC-Gadot
                           LLC, Multiple Dates
    24                     (SDC-GADOT-CITI_00044 to 00147)         114
    25

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     1                         E X H I B I T S
     2   NUMBER            DESCRIPTION                         MARKED
     3   Exhibit 5         Document Entitled "Letter
                           of Engagement," Dated
     4                     March 1, 2016
                           (No Bates Number)                       162
     5
         Exhibit 6         Multiple Invoices from
     6                     SDC-Gadot LLC to Page
                           Group ME Ltd. and Page
     7                     Risk Management DMCC,
                           Multiple Dates
     8                     (No Bates Number)                       165
     9   Exhibit 7         Multiple Invoices from
                           Gadot Information Services
    10                     to PPS Ltd., Multiple Dates
                           (No Bates Number)                       172
    11
         Exhibit 8         WhatsApp Messages between
    12                     Stuart Page and Amit Forlit
                           (No Bates Number)                       175
    13
         Exhibit 9         E-mail from Mario Ros
    14                     to "amit@gadot.co" Dated
                           September 7, 2019, Subject:
    15                     "Citibank"
                           (SDC-GADOT-CITI_00155)                  181
    16
         Exhibit 10        Document Entitled "Project
    17                     Beech Report - Farhad Azima,"
                           Dated August 4, 2015
    18                     (No Bates Number)                       183
    19   Exhibit 11        Document Entitled "Project
                           Beech - Comprehensive Action
    20                     Plan," Dated January 26,
                           2016
    21                     (No Bates Number)                       193
    22
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    24
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     1            Q U E S T I O N S I N S T R U C T E D
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     1                    WEDNESDAY, JULY 20, 2022
     2                11:09 A.M. ISRAEL DAYLIGHT TIME
     3
     4               THE VIDEOGRAPHER: Today's date
     5   is July 20th, 2022. The time on the video
     6   monitor is 11:09 a.m.
     7               This is the videotaped deposition
     8   of Amit Forlit, in the matter of Farhad
     9   Azima versus Insight Analysis and Research
    10   LLC and SDC-Gadot, being heard in the United
    11   States District Court, Southern District
    12   of Florida, Case No. 1:22-MC-20707.
    13               This videotaped deposition is
    14   taking place in Tel Aviv, Israel, as well
    15   as parties are attending remotely.
    16               Would the counsel present in
    17   Tel Aviv please voice-identify themselves
    18   and whom they represent.
    19               MR. BEHRE: Good morning, Kirby
    20   Behre, on behalf of Farhad Azima.
    21               MR. BARET: Morning. Elan Baret,
    22   on behalf of SDC-Gadot and Insight.
    23               MR. HERBERT: Ian Herbert, on
    24   behalf of Farhad Azima.
    25               THE COURT REPORTER: Dominic?

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   1                MR. HOLDEN: Dominic Holden, on
   2    behalf of Farhad Azima.
   3                THE VIDEOGRAPHER: Something is
   4    making noise. I don't --
   5                THE COURT REPORTER: Let's go off
   6    the record for a second.
   7                THE VIDEOGRAPHER: Can we go --
   8    off the record at 11:11.
   9                (Recess from 11:11 a.m. to 11:15 a.m.
  10          Israel Daylight Time.)
  11                THE VIDEOGRAPHER: Back on record
  12    at 11:15.
  13
  14                        HAYA SHAVIT-KEDAR
  15                                 and
  16                          RUCHIE AVITAL,
  17                the interpreters, were duly affirmed
  18                to translate from English to Hebrew
  19                and from Hebrew to English.
  20
  21                (The following proceedings were
  22          conducted through the interpreters,
  23          unless otherwise indicated, and
  24          excluding colloquy.)
  25    //

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   1               THE COURT REPORTER: I will ask
   2    counsel to please stipulate that, in lieu
   3    of formally swearing in the witness, the
   4    reporter will ask the witness to acknowledge
   5    that their testimony will be true under the
   6    penalties of perjury, that counsel will not
   7    object to the admissibility of the transcript
   8    based on proceeding in this way, and that
   9    the witness has verified that he is Amit
  10    Forlit.
  11               Counsel, do you agree?
  12               MR. BEHRE: Agreed.
  13               MR. BARET: Agreed.
  14               THE COURT REPORTER: Mr. Forlit,
  15    do you hereby acknowledge that your testimony
  16    will be true under the penalties of perjury
  17    and do you affirm that the testimony you
  18    are about to give in this deposition will
  19    be the truth, the whole truth, and nothing
  20    but the truth?
  21               THE WITNESS: Yes.
  22    //
  23    //
  24    //
  25    //

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   1                           AMIT FORLIT,
   2               called as a witness, was examined
   3               and testified under penalty of
   4               perjury as hereinafter set forth.
   5
   6                            EXAMINATION
   7    BY MR. BEHRE:
   8          Q.   Good morning, Mr. Forlit.
   9          A.   Good morning.
  10          Q.   Would you please state your full
  11    name for the record?
  12          A.   Amit Forlit.
  13          Q.   And how old are you?
  14          A.   Soon 55.
  15          Q.   And where are you a resident in?
  16          A.   In Israel.
  17          Q.   What countries are you a citizen
  18    of?
  19          A.   Only Israeli citizenship.
  20          Q.   So you're here today to testify
  21    on behalf of SDC-Gadot LLC; is that correct?
  22          A.   Yes.
  23          Q.   And is that a Florida corporation?
  24          A.   Yes.
  25          Q.   And is that your company?

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   1           A.   Yes.
   2           Q.   And is Insight Analysis and Research
   3    LLC also your company?
   4           A.   No.
   5           Q.   How about Insight GSIA, is or was
   6    that your company?
   7           A.   No.
   8           Q.   How about Gadot Information Services,
   9    is that your company?
  10           A.   Yes.
  11           Q.   Who owns Insight Analysis and Research,
  12    if not you?
  13           A.   A gentleman who manages my finances.
  14    His name is Omri Gur Lavie.
  15           Q.   And what about Insight GSIA, who
  16    owns that?
  17           A.   If I recall, his name is Effi
  18    Lavie.
  19           Q.   And do you have any ownership
  20    interest in Insight Analysis and Research
  21    LLC?
  22           A.   I don't have an interest in the
  23    ownership. But I am partner to its management.
  24           Q.   And what management position do
  25    you hold?

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   1          A.   This is -- I'm not quite sure
   2    I understand. This is a wallet company.
   3    Almost every decision that is made is
   4    made by me.
   5          Q.   A wallet company?
   6          A.   The company was established
   7    mainly because there was a problem
   8    transferring monies from Dubai to Israel
   9    at that time. And at the request of
  10    Mr. Page, two companies were established
  11    in the United States to facilitate the
  12    transfer of money.
  13          Q.   Okay. Okay. Well, we'll get
  14    a little more into that later.
  15               You know who I am -- right? --
  16    Kirby Behre?
  17          A.   "Kin."
  18          Q.   And you've known my name for
  19    many years, haven't you?
  20          A.   That's correct.
  21          Q.   And you know my client Farhad
  22    Azima's name; right?
  23          A.   I've heard of him. Yes.
  24          Q.   And you've known that name for
  25    many years too; right?

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   1          A.   Yes.
   2          Q.   And when do you think you first
   3    heard the name Farhad Azima?
   4          A.   So at the start of the investigation
   5    of Gadot Israel, which is also known as
   6    Gadot Information Services, we learned that
   7    the subject of the investigation was a man
   8    named Dr. Khater Massaad. Khater Massaad
   9    was referred to your firm by your client
  10    Farhad Azima.
  11          Q.   And do you recall what year you
  12    learned that name -- the name of Farhad
  13    Azima?
  14          A.   Because I reviewed some of the
  15    material in preparation for today, I --
  16    I would say it was in March 2015, early
  17    2015.
  18          Q.   And in conjunction with your
  19    investigation of Farhad Azima, was the
  20    name Project Beech used?
  21               MR. BARET: Objection. Form.
  22               THE WITNESS: I have never
  23    investigated Farhad Azima. The
  24    investigation was of Dr. Khater Massaad.
  25    //

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   1    BY MR. BEHRE:
   2          Q.   Okay. So in preparation for your
   3    testimony today, you said that you reviewed
   4    some documents; is that correct?
   5          A.   Yes.
   6          Q.   And what have you reviewed to
   7    prepare for your testimony here today?
   8          A.   Affidavits given by Stuart Page.
   9          Q.   Okay. Anything else?
  10          A.   Bank accounts. Invoices for --
  11    for Stuart Page.
  12          Q.   And when you say "bank accounts,"
  13    what are you referring to specifically?
  14          A.   I wanted to see when we first
  15    charged for the work concerning Khater
  16    Massaad.
  17          Q.   And when you say "the work
  18    regarding Khater Massaad," did that include
  19    anything having to do with Farhad Azima?
  20          A.   The name of Farhad Azima came up
  21    throughout all the years the investigation
  22    was being carried out, in a number of
  23    transactions which were suspected of
  24    being illegal that we investigated.
  25    But the client or the representatives

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   1    of the client, especially at the beginning
   2    of the investigation, said that Farhad
   3    Azima served as a mediator or a go-between
   4    between them and Khater Massaad. And
   5    that's why neither we nor the client were
   6    asked to investigate Farhad Azima -- were
   7    asked not to investigate Farhad Azima.
   8           Q.   What's the business of SDC-Gadot
   9    LLC?
  10           A.   In Gadot SDC, as well as in Insight,
  11    there's no business activity other than to
  12    serve as a conduit to transfer money to Gadot
  13    Israel.
  14                And the issue or the matter was
  15    because Stuart Page, according to him, received
  16    the money directly in a bank account in Dubai
  17    from the ruler Ras Al Khaimah -- RAK.
  18                THE INTERPRETER: I'm sorry?
  19                THE WITNESS: (Comment in Hebrew.)
  20                THE COURT REPORTER: It's here.
  21    It's here.
  22                THE INTERPRETER: RAK. Okay.
  23    Yeah. Okay.
  24                THE WITNESS: "The head of the
  25    tent." This is what -- the meaning.

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   1               THE INTERPRETER: "The head of
   2    the tent"?
   3               THE WITNESS: Ras Al Khaimah
   4    is the "head of the tent."
   5               THE INTERPRETER: Okay.
   6               THE WITNESS: And in order to
   7    transfer the money to us, he had to transfer
   8    it first to Hong Kong and then to transfer
   9    it to Israel. In the early years, we
  10    experienced very serious problems in the
  11    transfer of the money. And, consequently,
  12    Stuart asked or -- either Stuart or his
  13    person in charge of finance to simplify
  14    and streamline it by opening companies
  15    in the United States.
  16    BY MR. BEHRE:
  17          Q.   And what was or is the business
  18    of Gadot here in Israel?
  19          A.   Are you referring to the Israeli
  20    company Gadot Israel or the Florida company?
  21          Q.   The Israeli company, which I
  22    understand you're now saying was using
  23    the U.S. entity to transmit funds.
  24          A.   Gadot Israel is a firm for crisis
  25    management that uses the collection of

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   1    data, data analysis, and recommendations
   2    for actions to be taken by their customers.
   3          Q.   And in your role with Gadot, has
   4    Gadot ever had in its possession stolen
   5    data, including stolen e-mails?
   6          A.   The answer to that question is
   7    a little bit problematic. Because the
   8    analysts of Gadot sometimes use information
   9    that has been leaked to various websites
  10    such as WikiLeaks. Sometimes e-mails
  11    that were stolen have been published.
  12               So to say that we don't use
  13    stolen e-mails in our data collection
  14    or as part of our data collection, that
  15    would not be accurate. But I can say --
  16    but I can say that Gadot Israel does
  17    not steal data and does not do anything
  18    criminal in its activities involving --
  19    in its work here in Israel.
  20          Q.   When you mentioned analysts
  21    at Gadot, what specifically is the role
  22    that analysts play in the company?
  23          A.   In many cases, we get from
  24    customers too and from open sources --
  25    also from collecting from open sources

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   1    and from investigations. For example,
   2    by participating in chat rooms and
   3    investigations of pretext and --
   4    pretext and monitoring, all this data
   5    that is collected is analyzed by analysts.
   6          Q.   And by "pretext," do you mean
   7    misrepresentations by individuals about
   8    who they are to get information?
   9               Correct?
  10          A.   So every -- so as far as I'm
  11    concerned, pretext -- every -- every case
  12    should be judged separately. But it could
  13    involve hanging out in a bar and overhearing
  14    a conversation or talking to someone.
  15               Anything -- I consider anything
  16    where you don't introduce yourself and say
  17    I am so-and-so and I am investigating is
  18    what I would consider pretext.
  19          Q.   And you also used the term
  20    "monitoring."
  21               What is it you're monitoring?
  22          A.   (Comment in Hebrew.)
  23               THE INTERPRETER: "Surveillance"?
  24               THE WITNESS: "Surveillance."
  25               THE INTERPRETER: Okay.

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   1               THE WITNESS: (Comment in Hebrew.)
   2               THE INTERPRETER: The word should
   3    have been "surveillance."
   4    BY MR. BEHRE:
   5          Q.   And "surveillance," you mean
   6    human --
   7               THE INTERPRETER: Physical
   8    surveillance -- I'm sorry -- he -- he --
   9    he explained.
  10               He said: "Physical surveillance."
  11               MR. BEHRE: Okay. Thank you.
  12               THE INTERPRETER: Actually
  13    surveilling someone.
  14    BY MR. BEHRE:
  15          Q.   Following someone without them
  16    knowing it, is that an example of surveillance?
  17          A.   Yes. That's an example.
  18          Q.   So just to jump back, you said
  19    you looked at some bank statements; is that
  20    correct?
  21          A.   My own.
  22          Q.   Okay. And by your own, which
  23    company are you talking about?
  24          A.   Gadot SDC and Insight.
  25          Q.   And which banks are those?

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   1          A.   Insight in Bank of America and
   2    Gadot at Citibank.
   3          Q.   Okay. And in addition, you
   4    mentioned reviewing invoices in preparation
   5    for your testimony.
   6               Who are those invoices to and from?
   7          A.   The invoices from Insight and from
   8    Gadot in the U.S. to Stuart Page in the Beech
   9    case.
  10          Q.   And could you spell "Beech," please,
  11    for the record?
  12          A.   Sometimes we got it wrong. But I
  13    think it's B-e-e-c-h.
  14          Q.   (Not translated.) So the intent
  15    is "beach" like the ocean and not "beech"
  16    like the tree?
  17          A.   (In English.) No.
  18               (Translated.) It was Stuart Page
  19    who chose the name.
  20               (Last question translated.)
  21               THE WITNESS: I think his initial
  22    intention was to the tree. But we might
  23    have got the spelling wrong.
  24    BY MR. BEHRE:
  25          Q.   In addition to the bank statements

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   1    and the invoices, what else did you review
   2    to prepare for your testimony?
   3          A.   I spoke to my attorneys about
   4    the legal proceedings we've been involved
   5    in until now.
   6          Q.   Yeah. I'm just asking you about
   7    documents now, not -- not discussions.
   8          A.   In this case, there was a security
   9    protocol that was dictated by the customer
  10    not to preserve any documentation in the
  11    case.
  12          Q.   And who was the customer?
  13          A.   RAK.
  14          Q.   And was Stuart Page a customer?
  15          A.   Stuart Page asked to meet me --
  16    I think it was March 2015.
  17               And he told me that the ruler
  18    wanted him to -- wanted to investigate
  19    the illegal activities of Khater Massaad.
  20    And according to what Stuart told me, his
  21    work was directly vis-a-vis the ruler. And
  22    the payment he received, according to what
  23    Stuart said, was also -- also came directly
  24    from the account of the ruler rather than
  25    some company.

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   1               Throughout the entire investigation,
   2    we would call the ruler "the boss." That
   3    was his nickname. But my actual customer
   4    was Stuart Page.
   5          Q.   Okay. And you said that the
   6    customer dictated the policy of not
   7    preserving documents; correct?
   8          A.   That's what Stuart Page told
   9    me. I never met the boss.
  10          Q.   And, again, by "boss," you mean
  11    the ruler; right?
  12          A.   Yes.
  13          Q.   And what were the documents that
  14    were created but were not retained?
  15          A.   Approximately every month, but
  16    not always, and based on the findings of
  17    the investigation, we would produce a report.
  18               The report had an executive summary
  19    at the beginning. And this was followed by a
  20    breakdown of the findings of the investigation.
  21    And we would send these reports using the
  22    method that Stuart described quite accurately
  23    in his affidavit to Stuart.
  24               Stuart always asked, from the
  25    beginning, that we leave the report in

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   1    an open format for two reasons. The first
   2    one was that he said that our English was
   3    beneath contempt. And he would also add
   4    sections to the report involving investigations
   5    that he did that had nothing to do with us.
   6          Q.   Did you draft or write any portion
   7    of those reports?
   8          A.   The report was prepared by the
   9    staff of analysts. I would review the
  10    report before it was sent out, sometimes
  11    make corrections or changes.
  12          Q.   And when you say the "staff of
  13    analysts," who were those people specifically?
  14          A.   This was a staff of people who
  15    worked for Gadot. And for reasons of
  16    privacy, I will not state their names.
  17          Q.   And what are the reasons of
  18    privacy that you can't disclose the
  19    employees of your company?
  20          A.   First and foremost, this
  21    investigation relates to Gadot U.S.A.
  22    and to Insight. And these employees
  23    are not employees of Gadot or Insight.
  24               And, secondly, some of them
  25    have security clearances here in Israel.

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   1    Some of them came from the various security
   2    systems, Israeli security systems.
   3          Q.   Well, as I understand your
   4    testimony, the payments that were made
   5    to SDC-Gadot were payments for the work
   6    of Gadot here in Israel; correct?
   7          A.   Correct.
   8          Q.   And, therefore, the work of
   9    SDC-Gadot directly relates to Gadot?
  10          A.   Yes.
  11          Q.   So I'm asking you for the names
  12    of the employees who prepared the report --
  13    or reports I should say.
  14          A.   I understood your question. But
  15    I will not answer that question.
  16          Q.   Okay. Well, that's not a -- it --
  17    it's not a valid reason not to answer.
  18               MR. BEHRE: And if you want to
  19    interject anything -- I mean, we can --
  20               MR. BARET: Well --
  21               MR. BEHRE: -- go to the Court.
  22    But --
  23               MR. BARET: Well, I -- I disagree
  24    with your analysis, with all due respect.
  25    I don't think Gadot --

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   1               THE INTERPRETER: (Comment in
   2    Hebrew.)
   3               MR. BARET: Gadot SDC did not
   4    have any employees. And Gadot -- and the
   5    subject of this deposition is for Gadot SDC,
   6    not for Gadot Israel. So he -- he decided
   7    not to answer. And you can -- you can make
   8    a note of that.
   9               MR. BEHRE: Are you instructing
  10    him not to answer?
  11               MR. BARET: I'm not instructing
  12    him anything. He made a decision. And
  13    I'm not instructing him to answer. [sic]
  14               MR. BEHRE: Okay.
  15               MR. BARET: You didn't hear me --
  16               MR. BEHRE: In addition --
  17               MR. BARET: I'm sorry. You didn't
  18    hear me instructing him not to answer; right?
  19    Just so we're clear. I'm not instructing
  20    him not to answer.
  21               MR. BEHRE: But you're not
  22    instructing him to answer?
  23               MR. BARET: He's -- he's a
  24    grown man. If he doesn't want to answer,
  25    that's his choice.

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   1    BY MR. BEHRE:
   2          Q.   So in addition to the bank
   3    statements, the invoices, did you look
   4    at anything else to prepare for today?
   5          A.   No.
   6          Q.   Well, you indicated before we
   7    started that you had documents in front
   8    of you -- correct? -- that included Stuart
   9    Page's declaration or declarations?
  10          A.   Yes. These are Stuart Page's
  11    declarations. And these are lists which
  12    I made for myself to assist myself in
  13    reconstructing the proceedings that we've
  14    been through so far.
  15          Q.   (Not translated.) Could you
  16    tell us what statements you have in front
  17    of you by date --
  18               THE INTERPRETER: Statements?
  19    BY MR. BEHRE:
  20          Q.   (Not translated.) -- and title?
  21               THE INTERPRETER: Statements?
  22               MR. BEHRE: Witness statements.
  23    Affidavits.
  24               (Pending question translated.)
  25               THE WITNESS: I have Stuart's

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   1    affidavit from the 7th of January, 2022.
   2    And an additional one by Stuart from the
   3    7th of February.
   4               I also -- I also had the affidavit
   5    of Majdi Halabi. But I don't seem to find
   6    it here. I probably left it in my office.
   7    BY MR. BEHRE:
   8          Q.   So in front of you you have two
   9    affidavits of Stuart Page; right?
  10          A.   Yes.
  11          Q.   And you also have some handwritten
  12    notes you made; correct?
  13          A.   Correct.
  14          Q.   And those are one page or more?
  15          A.   More. Eleven.
  16          Q.   And in addition to the things
  17    we've just discussed, is there anything
  18    else document-wise you looked at to
  19    prepare for your testimony?
  20          A.   No.
  21          Q.   Have you ever reviewed any of
  22    the pleadings in Farhad Azima's U -- U.K.
  23    case?
  24          A.   (Translated.) Not -- not in
  25    the last few days. But I am familiar

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   1    with these proceedings, with this claim
   2    or this action that Farhad Azima is
   3    conducting versus Nick Del Rosso --
   4                (In English.) NDR.
   5                (Translated.) -- NDR.
   6          Q.    And so you've looked at -- at
   7    pleadings involving the Azima versus Del
   8    Rosso case in the United States?
   9          A.    Yes. I've been through the
  10    pleadings. And many times journalists
  11    from Reuters approached me. And I think
  12    that I'm pretty well familiar with these
  13    proceedings.
  14          Q.    And when Reuters approached you,
  15    did you speak with them?
  16          A.    Yes.
  17          Q.    And what was the name of the
  18    reporter?
  19          A.    Raphael Satter.
  20                MR. BEHRE: I think that's
  21    Satter, S-a-t-t-e-r.
  22                THE INTERPRETER: Satter?
  23                MR. BEHRE: Satter. Yeah.
  24                THE INTERPRETER: Satter.
  25                THE WITNESS: It's like Beech

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   1    is both a tree and a seashore.
   2    BY MR. BEHRE:
   3          Q.    In preparation for your testimony
   4    here today, have you spoken to anyone to
   5    gain information about which you can
   6    testify?
   7          A.    No.
   8          Q.    Have you spoken to Stuart Page
   9    about your testimony here today?
  10          A.    No.
  11          Q.    When's the last time you spoke
  12    with Stuart Page?
  13          A.    I estimate that it's been about
  14    seven, eight months since we last spoke.
  15          Q.    When did you last communicate
  16    with him?
  17                And by that, I mean text or
  18    e-mail or messaging app.
  19          A.    I can check that and provide
  20    an accurate reply.
  21          Q.    Just a rough estimate?
  22          A.    Seven, eight months.
  23          Q.    Okay. What about his assistant
  24    Caroline Timberlake, when's the last time
  25    you spoke with her?

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   1          A.   In my opinion, I haven't spoken
   2    to her in about two years.
   3          Q.   And when's the last time you
   4    communicated with her, again, text, e-mail,
   5    or messaging app?
   6          A.   The same answer.
   7          Q.   What about Neil Gerard, did you
   8    talk to him in preparation for your testimony
   9    here today?
  10          A.   In my view, the last time I spoke
  11    to Neil Gerard was in that meeting that
  12    I described in -- which took place in
  13    Switzerland.
  14          Q.   And when's the last time you
  15    communicated with Neil Gerard? And I
  16    can keep repeating it. But text? E-mail?
  17          A.   First of all, throughout the --
  18    all the -- all these years, I did not have
  19    a direct connection or direct communication
  20    with Neil Gerard.
  21               My opinion -- my evaluation is
  22    that, ever since the first trial that took
  23    place between Farhad Azima and the client
  24    in London, I did not speak to him, I did
  25    not meet him, I did not correspond with him.

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   1          Q.    But there was a time you met with
   2    Neil Gerard at Dechert's offices in London;
   3    right?
   4          A.    All along the time that this
   5    procedure is being run, I believe I've
   6    been in Dechert's office once or twice
   7    in London. It can be checked in the
   8    log-in of Dechert, because it's been
   9    verified.
  10                Beyond my meetings with Neil
  11    at Dechert, I believe that, in the last
  12    four or five years of conducting this
  13    case, I met Neil perhaps another ten
  14    times. I have never met Neil without
  15    Stuart's presence. And that's it as
  16    far as Neil is concerned.
  17          Q.    Now, you indicated the Dechert
  18    log-in system for visitors, it's been
  19    verified.
  20                What did you mean by that?
  21          A.    When you come to visit their
  22    offices -- when you come to visit their
  23    offices, you have to present some document
  24    of identification. And then they issue for
  25    you a magnetic card, which you use throughout

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   1    your visit to open the doors, to open the
   2    elevator -- I don't remember.
   3          Q.   And you've also visited with Neil
   4    Gerard at your apartment at the Metropolitan
   5    Hotel in London too; correct?
   6          A.   (Translated.) Once or twice,
   7    a few times -- I don't remember exactly --
   8    Neil came to meetings which were held in
   9    the apartment. But these meetings as well
  10    were attended by Stuart Page.
  11               And this -- and this apartment
  12    is a room in a hotel. It's not as if I
  13    have an apartment there.
  14               (In English.) I wish I had.
  15          Q.   It would be a very expensive
  16    apartment.
  17          A.   (In English.) Also to rent.
  18          Q.   Yeah. And, finally, have you
  19    ever visited Gerard at his home?
  20          A.   Never.
  21          Q.   Now, what about Jamie Buchanan,
  22    did you speak with him about your testimony
  23    here today?
  24          A.   No.
  25          Q.   When's the last time you spoke

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   1    with him?
   2          A.    I estimate something like
   3    ten months. That's my estimate. Even
   4    before I became aware that there's some
   5    proceedings here against me.
   6          Q.    And when's the last time you
   7    communicated with him?
   8          A.    After I learned about the
   9    testimony that Stuart gave, I -- I
  10    communicated with him not directly,
  11    but via his attorney.
  12          Q.    And who is his attorney?
  13          A.    A woman -- a woman by the
  14    name of Sue or something like that,
  15    in England, in --
  16          Q.    In --
  17          A.    -- the U.K.
  18                THE INTERPRETER: "A women
  19    by the name of Sue or something like
  20    that in the U.K."
  21    BY MR. BEHRE:
  22          Q.    What about the ruler, when's
  23    the last time you spoke with him?
  24                And did you talk to him to
  25    prepare for your testimony today?

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   1           A.   In all my 55 years of existence,
   2    I have never spoken to the ruler nor met
   3    him.
   4           Q.   Have you ever communicated with
   5    him in text, e-mail, or messaging?
   6           A.   Never. Never.
   7           Q.   How about Amir Handjani, did you
   8    talk to him to prepare for your testimony?
   9           A.   Same answer as for the ruler.
  10                In all my 55 years of existence,
  11    I never met him. I never spoke to him.
  12    I never communicated. I don't know him.
  13           Q.   And did you attend the trial
  14    of Farhad Azima in London in 2019?
  15           A.   No.
  16           Q.   Were you in London at the time?
  17           A.   I don't recall. I can check
  18    that. I don't think so.
  19           Q.   Did you meet with any of the
  20    parties on behalf of RAK who were at that
  21    trial at the time they were in that trial?
  22           A.   I don't think so. I don't think
  23    so.
  24                I believe I did meet with Stuart,
  25    because I had a very close contact with --

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   1    very close connection with Stuart. I don't
   2    think it was at the time of the proceedings.
   3               I -- I have something to add.
   4               I went over a few more documents
   5    in preparation to this testimony, which I
   6    forgot to mention before. I took out from
   7    the Ministry of Interior all the dates of
   8    my exits and entries into the country in
   9    order to refresh my memory as to these
  10    visits or trips.
  11          Q.   Exits and entries from which
  12    country?
  13          A.   Only from Israel. Because I
  14    possess an Israeli passport. That's
  15    the only -- the only thing that could
  16    be checked.
  17          Q.   And why did you look at that
  18    information to prepare?
  19          A.   Because, when I read the affidavit
  20    by Majdi Halabi, I did not remember some of
  21    the meetings that he described as me being
  22    in attendance. So I wanted to check whether
  23    at all I had been present in the places as
  24    he was describing it.
  25          Q.   And did you receive a printout

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   1    from the Israeli Ministry about your travel?
   2          A.   Yes. Every citizen can do that.
   3          Q.   And do you have a copy of that
   4    with you today?
   5          A.   I have it in the mail. I can
   6    have it printed if you want.
   7          Q.   Okay. We'd appreciate that.
   8          A.   My attorney will provide you
   9    that in reference to the specific dates.
  10          Q.   (Not translated.) Now, going
  11    back to the people you might have spoken
  12    with to prepare for your testimony, did
  13    you -- did you speak with anyone from
  14    Karv Communications, such as Andrew
  15    Frank, before you --
  16               THE INTERPRETER: From Karv?
  17    BY MR. BEHRE:
  18          Q.   (Not translated.) -- testified
  19    here today?
  20               THE INTERPRETER: Karv -- Karv
  21    Communications?
  22               MR. BEHRE: Karv, K-a-r-v.
  23               THE INTERPRETER: Okay.
  24               (Pending question translated.)
  25               THE WITNESS: Just like my

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   1    previous answer, I have never met him.
   2    I don't know him. I have never communicated
   3    with him.
   4    BY MR. BEHRE:
   5          Q.    And how about David Hughes?
   6          A.    I have met David Hughes when he
   7    was working at Dechert. And I believe that
   8    the last time I met him was in that meeting
   9    in Cyprus, which is described in Stuart's
  10    affidavit. I have never communicated with
  11    him directly, neither before nor after, and
  12    not indirectly either.
  13          Q.    Okay. And how about Majdi Halabi?
  14          A.    The last time I spoke to Majdi
  15    Halabi was after he submitted his affidavit.
  16                After I have learned about his
  17    affidavit from the Reuters reporter, I
  18    called him. And he refuted, he denied
  19    that he had provided such an affidavit.
  20    And when I saw -- when I saw it, I -- I
  21    cut my connections with him. And since
  22    then, I have not spoken to him.
  23          Q.    When's the last time you
  24    communicated with him by text, e-mail,
  25    or messaging service?

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   1          A.   It was a telephone conversation.
   2    And I believe it was close to the date
   3    that he had submitted his affidavit. And
   4    since then, I had no communication with
   5    him whatsoever.
   6          Q.   (Partially translated.) Okay.
   7    How about the U.K. lawyer, Lucy Ward, did
   8    you speak with her before you testified
   9    here today?
  10               THE COURT REPORTER: "Lucy."
  11               THE INTERPRETER: What's her
  12    name? Lucy Ward. Lucy Ward.
  13               (Remainder of pending question
  14          translated.)
  15               THE WITNESS: I don't know this
  16    lady. And I've never spoken to her.
  17    BY MR. BEHRE:
  18          Q.   Have you ever communicated with
  19    her in any other way?
  20          A.   No.
  21          Q.   How about Nicholas Del Rosso,
  22    did you speak with him before you
  23    testified here today?
  24          A.   Same answer.
  25               In all my 55 years of existence,

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   1    never met, never heard, never spoken, don't
   2    know.
   3          Q.   But you've certainly heard of him;
   4    right?
   5          A.   Yes.
   6               Now, seriously, in the beginning
   7    of the investigation, I learned that Nick
   8    Del Rosso was recruited and he's working
   9    on the case in parallel to us but on
  10    different -- other issues.
  11               I remember that Stuart Page
  12    was deeply offended that Nick Del Rosso
  13    is being employed. And he was told that
  14    Nick's employment had been suspended.
  15               And the next time we encountered
  16    the name of Nick Del Rosso, we were told
  17    that he was making the connection between
  18    a company that was studying the materials
  19    leaked from Farhad Azima and the customer,
  20    the client.
  21               THE COURT REPORTER: "And" or
  22    "in"?
  23               THE INTERPRETER: "And the client."
  24    BY MR. BEHRE:
  25          Q.   The connection between a company

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   1    that was?
   2          A.    He made a connection to a company
   3    that was analyzing materials, the materials
   4    that had been leaked from Farhad Azima.
   5          Q.    And what was the name of that
   6    company?
   7          A.    I -- I don't remember. Once
   8    again, all my information comes from
   9    Stuart.
  10          Q.    What about an investigator by
  11    the name of Craig Thomas, did you speak
  12    with him to prepare for your testimony
  13    here today?
  14          A.    I don't even have the faintest
  15    clue who this person is. Until now, I
  16    recognize the names. But this one ...
  17          Q.    What about Patrick Grayson?
  18          A.    I heard about him. Never spoken
  19    to him, never met him, never communicated
  20    with him.
  21          Q.    Was he involved in Project Beech,
  22    if you know?
  23          A.    No. Not to my knowledge.
  24          Q.    Did you speak with Paul Robinson
  25    to prepare for your testimony here today?

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   1          A.   I heard about Paul Robinson from
   2    Stuart Page, even in the course of the
   3    meetings held by Stuart Page with Robinson.
   4    But I don't know him. I haven't spoken
   5    to him. And that's it.
   6          Q.   In preparation for your testimony
   7    here today, have you spoken to anyone else
   8    affiliated with Dechert, the law firm?
   9          A.   No.
  10          Q.   (Not translated.) And how about
  11    anyone from Stewarts Law, the law firm in
  12    the U.K. that represents RAK?
  13          A.   "Lo."
  14               (Pending question translated.)
  15               THE WITNESS: No.
  16               MR. BEHRE: RAK is all -- all
  17    caps, R-A-K.
  18               THE WITNESS: (Comment in Hebrew.)
  19               THE INTERPRETER: No. No.
  20               THE COURT REPORTER: He wants to
  21    smoke an electronic cigarette.
  22    BY MR. BEHRE:
  23          Q.   It's not good for your health.
  24    We're not going to do that here.
  25          A.   No, this is good for my health.

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   1          Q.   You -- you received -- or I should
   2    say S -- SDC-Gadot received a subpoena for
   3    documents; correct?
   4          A.   After a long time after servicing
   5    the documents to somebody in Florida, I
   6    learned that they had been requested to
   7    provide documents.
   8               MR. BEHRE: After servicing the
   9    documents to somebody in Florida?
  10               THE INTERPRETER: After -- after
  11    the servicing -- serving the -- the -- the
  12    subpoena, I imagine. Serving, not servicing.
  13    Serving. Serving. Sorry. Sorry. Serving.
  14               MR. BEHRE: Okay. Let me just
  15    ask the question again.
  16               THE INTERPRETER: Okay.
  17    BY MR. BEHRE:
  18          Q.   Do you recall receiving a subpoena
  19    for documents from SDC-Gadot in conjunction
  20    with the Florida case?
  21          A.   Yes.
  22          Q.   And are you aware that, in response
  23    to that, no documents were produced?
  24          A.   I am aware that my bank said --
  25    did send them the documents -- my documents

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   1    that he was requested -- that the bank was
   2    requested to submit. And immediately after
   3    learning about the subpoena, I recruited
   4    the services of my attorney here in order
   5    to defend myself in respect to the substance
   6    of the subpoena. And only recently did I
   7    determine what I am supposed to produce and
   8    what I'm -- I'm not.
   9          Q.   But you would agree that, in
  10    preparation for your testimony here today,
  11    you reviewed documents that would be required
  12    to be produced under that subpoena; correct?
  13          A.   Okay. In the first subpoena,
  14    they required documents connected to the
  15    American companies and to the connection
  16    to -- the connection to Stuart Page in
  17    the connection of the investigation of
  18    Farhad Azima. And since there was no
  19    investigation against Farhad Azima, or
  20    of Farhad Azima, my initial interpreting
  21    was that I have no documents to submit,
  22    since I did not investigate Farhad Azima.
  23               But pretty soon, they started to
  24    submit more and more requests to the Court,
  25    which go well beyond the initial request.

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   1               So to the best of my understanding,
   2    we submitted an opposition, an objection
   3    to these requests. And, finally, the --
   4    the agreement was that in -- following
   5    the initial -- the first subpoena, I
   6    would be deposed here in Israel.
   7               And, once again, I will say
   8    that I have no connection. I have
   9    never investigated Farhad Azima.
  10               (Exhibit 1 marked.)
  11    BY MR. BEHRE:
  12          Q.   I'd like to show you --
  13               MR. BEHRE: Do you have a copy
  14    for counsel?
  15    BY MR. BEHRE:
  16          Q.   I'd like to show you what we've
  17    marked as exhibit --
  18               MR. BEHRE: Do you have a binder
  19    clip or something? Do you have one? Thank
  20    you. Yeah.
  21    BY MR. BEHRE:
  22          Q.   Showing you what's been marked --
  23    pre-marked as Exhibit No. 1. That's a copy
  24    of the subpoena that I believe was served
  25    on SDC-Gadot LLC for documents.

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   1                Could you take a look at that
   2    and see if you've seen that before?
   3          A.    (Examining.) I -- I don't
   4    remember.
   5                But I do recall that, at some
   6    stage, the gentleman whose names -- whose
   7    name appears here -- I think it's Shimon
   8    Goldenberg [sic] -- is a person I don't
   9    know personally, by the way -- he called
  10    and he said that he had received a lot
  11    of documents and that we should come and
  12    see them. He said he had been trying
  13    to e-mail us the documents but that the
  14    e-mail had bounced.
  15                And when I corrected him --
  16    because he had written ".com" instead
  17    of ".co.il" -- the -- the documents
  18    arrived.
  19                In actual fact, the first
  20    time I -- I received the documents
  21    was a long time after they had been
  22    initially sent. I think my attorney
  23    related to this in one of his responses
  24    to the Court.
  25          Q.    And by "the documents," you're

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   1    talking about the subpoena, not the
   2    documents in response to the subpoena;
   3    right?
   4          A.   Yes. That's correct.
   5          Q.   (Translated.) And if you
   6    would look, please, at page -- page 8
   7    of 39. So if you look at the number
   8    in the upper right-hand corner, page 8.
   9               (Not translated.) And just
  10    directing your attention to paragraph
  11    21, it describes the scope of the
  12    subpoena as covering not just Farhad
  13    Azima but also others, including
  14    Khater Massaad.
  15               Do you see that?
  16          A.   Yes.
  17          Q.   (Partially translated.) And
  18    the documents that you've indicated you've
  19    reviewed in preparation for your testimony
  20    included SDC-Gadot's bank records, as well
  21    as invoices; right?
  22          A.   Yes.
  23          Q.   And those --
  24               THE COURT REPORTER: Let her
  25    translate.

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   1    BY MR. BEHRE:
   2          Q.   And those would be responsive
   3    to the subpoena, wouldn't they?
   4          A.   That's correct.
   5          Q.   And in addition, you indicated
   6    you reviewed other documents as well;
   7    correct?
   8          A.   Bank statements.
   9          Q.   And what about -- what about
  10    the corporate records of SDC-Gadot, did
  11    you look at those before you testified?
  12          A.   No.
  13          Q.   And by that, I'm referring to
  14    the -- the documentation you file with
  15    the Florida Secretary of State every
  16    year or so.
  17          A.   I did not review them.
  18          Q.   And you would agree, wouldn't
  19    you, that they would be responsive to
  20    this subpoena as well; right?
  21          A.   (Comment in Hebrew.)
  22               MR. BARET: Just -- just for the
  23    record, you have those documents. You --
  24    you provided it to us. Would you like us
  25    to send it back to you? Because the only --

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   1    other than some of these documents that you
   2    provided to us, there is no records, for
   3    the record.
   4               MR. BEHRE: I don't -- I don't --
   5    I don't know if that's true or not.
   6               MR. BARET: Oh. So I'm telling
   7    you he doesn't have any records. So nothing
   8    was produced because -- nothing was produced
   9    because there are no records other than what
  10    you already have.
  11               MR. BEHRE: Well --
  12               MR. BARET: But if you want
  13    us to produce those records to you, even
  14    though you have them, which is Sunday's
  15    (phonetic) record, we can do that.
  16               MR. BEHRE: I don't know if
  17    they're the same as what I've got or
  18    not. He indicated he has bank records.
  19    He indicated he has invoices.
  20               MR. BARET: Only what --
  21               MR. BEHRE: I don't see --
  22               MR. BARET: -- was produced --
  23               MR. BEHRE: -- those.
  24               MR. BARET: -- to us by you.
  25               So the bank -- actually, you have

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   1    more bank records than what he does. Because
   2    you got the subpoena from the bank. And,
   3    actually, some of the records we've got is
   4    from whatever you produced and received by
   5    issuing a subpoena to Bank of America and
   6    Citibank.
   7                THE WITNESS: (Comment in Hebrew.)
   8                THE COURT REPORTER: Wait. Wait.
   9    She has to translate the --
  10                THE INTERPRETER: I have to --
  11                THE COURT REPORTER: -- last answer.
  12                THE INTERPRETER: I have to --
  13                His answer was: "I'm not especially
  14    proficient in the procedural matters."
  15                THE WITNESS: Our bank accounts
  16    were closed in August or September of 2021.
  17    And we don't have access to the bank.
  18                So the subpoena -- the -- the
  19    subpoena that you're referring to is much
  20    more comprehensive than what we have because
  21    we only kept documents in a sporadic fashion.
  22                And regarding the invoices for
  23    Stuart Page, I would assume -- I assume
  24    that you have copies of them from Stuart
  25    Page, because he's cooperating with you

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   1    very well.
   2    BY MR. BEHRE:
   3          Q.   Well, just because you assume
   4    we have something doesn't mean you're
   5    not obligated to produce them if they're
   6    in your possession.
   7          A.   So I apologize. And I will
   8    review, once again, what I have.
   9               MR. BARET: I -- I don't think
  10    bank records were requested in the subpoena.
  11               Can you please direct me where
  12    you are requesting bank records?
  13               MR. BEHRE: Well, I'm not
  14    testifying, so no.
  15               MR. BARET: No, so I'm just --
  16    for the record, the subpoena you -- you --
  17               MR. BEHRE: It's --
  18               MR. BARET: -- are showing --
  19               MR. BEHRE: -- all records regarding
  20    the company, which would include bank records,
  21    tax records, for example.
  22    BY MR. BEHRE:
  23          Q.   Do -- does SDC-Gadot file any
  24    taxes in the U.S.?
  25          A.   It filed returns.

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   1          Q.   And where do they file those --
   2    where does the company file those tax
   3    returns?
   4          A.   I have to check. But I would
   5    guess it's in Florida.
   6          Q.   And those would be responsive
   7    to this subpoena, wouldn't they?
   8          A.   I'm not sure. I just have --
   9    I have to go back and check.
  10          Q.   (Not translated.) And Ari Propis
  11    is the accountant for SDC-Gadot; is that
  12    right?
  13               THE INTERPRETER: R.E.?
  14               MR. BEHRE: Ari, A-r-i. Propis.
  15               THE INTERPRETER: Propis.
  16               MR. BEHRE: P-r-o-p-i-s.
  17               THE WITNESS: No.
  18    BY MR. BEHRE:
  19          Q.   What is his role, if any, with
  20    regard to SDC-Gadot?
  21          A.   Ari Propis has no position
  22    whatsoever in SDC-Gadot. He just liaised
  23    for us and connected us so we could open
  24    the bank account.
  25          Q.   Who prepared the company's tax

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   1    returns?
   2          A.   There is an accountant. I'd
   3    have to ask the financial person. I
   4    don't remember his name.
   5          Q.   And who's the financial person
   6    you'd have to ask that of?
   7          A.   Omri.
   8          Q.   Who's Omri?
   9          A.   Omri Gur Lavie. He's our finance
  10    person.
  11          Q.   And does SDC-Gadot pay taxes to
  12    the U.S. Government as best you know?
  13          A.   I -- I know that we filed returns
  14    and that all income and expenses were reported
  15    in the jurisdictions in which we had to do
  16    so. Whether taxes were or were not paid,
  17    I would have to check.
  18          Q.   (Not translated.) And who keeps
  19    the business expenses for the company?
  20               THE INTERPRETER: What do you
  21    mean by "keeps"? Records?
  22               MR. BEHRE: Keeps the business
  23    expense records.
  24               THE INTERPRETER: Who records.
  25    Okay.

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   1               (Pending question translated.)
   2               THE WITNESS: The accountant.
   3    BY MR. BEHRE:
   4          Q.   And the accountant is who?
   5               Gur Lavie?
   6          A.   If you give me a few minutes --
   7    it's a U.S. CPA. He's a U.S. CPA that
   8    works from Israel. If you give me a few
   9    minutes, I can check on my phone and --
  10    and I'll get back to you with that.
  11          Q.   But it's not Mr. Gur Lavie? It's
  12    somebody else?
  13          A.   He's the financial director. But
  14    he doesn't work vis-a-vis the authorities.
  15    There's an accountant, and that's his job.
  16    I'm the one that authorizes all expenses.
  17          Q.   Are there any other documents
  18    that are filed on behalf of SDC-Gadot
  19    with any Government agency that you
  20    know of?
  21          A.   No.
  22          Q.   Are there any filings that
  23    SDC-Gadot makes with any banking authority
  24    that you know of in the U.S.?
  25          A.   What do you mean by "documents"?

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   1    You mean like opening a bank account?
   2          Q.    Any sorts of filings or forms
   3    or applications or anything submitted to
   4    a bank.
   5          A.    So the only bank that we actually
   6    banked with in America was Citibank. We
   7    tried to work with Chase Manhattan. But
   8    it didn't work out. So we may have filed
   9    some forms there at one point, but -- with
  10    Chase Manhattan.
  11          Q.    Chase Manhattan refused to open
  12    an account for you?
  13          A.    No. They did open an account.
  14    I don't recall exactly why -- there was
  15    some kind of limitations or something.
  16    But we just -- it wasn't convenient for
  17    us to work with them.
  18          Q.    (Not translated.) Have you
  19    ever had any bank account frozen in
  20    the U.S.?
  21          A.    No.
  22          Q.    (Not translated.) Has any
  23    U.S. Government body ever tried to
  24    obtain information about your bank
  25    accounts, as best you know?

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   1          A.   (In English.) No.
   2               (Translated.) No.
   3          Q.   (Not translated.) So in the --
   4    in the document subpoena that you have
   5    in front of you, Exhibit No. 1, it asks
   6    in -- on page 9 of 39 -- so the numbering
   7    is in the upper right-hand corner.
   8               Under 1.a, the -- it asks for
   9    all reports.
  10               Do you see that?
  11          A.   Yes.
  12          Q.   And are those the reports you
  13    referenced as having not been retained?
  14          A.   No, we have no reports on Azima,
  15    because we didn't do any reports on Azima.
  16          Q.   So it is your testimony that there
  17    was no report that mentioned Farhad Azima?
  18          A.   No. In my opinion, there were
  19    reports that mentioned Azima -- Farhad
  20    Azima, not as the subject of an investigation,
  21    but as someone whose name came up in the
  22    investigation. And as I said earlier, no
  23    reports were preserved. So everything that
  24    I'm saying now about this is from memory.
  25          Q.   So is it your testimony that the

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   1    reports that mentioned Azima didn't reflect
   2    any investigation by your company of Azima?
   3          A.   My company did not investigate
   4    Farhad Azima. So my company investigated
   5    Dr. Khater Massaad.
   6               In some of the transactions that
   7    Khater Massaad was involved in, other people
   8    were involved, like members of the republican
   9    guard in -- Revolutionary Guard in Iran,
  10    like other people that were involved in
  11    these transactions. And their names were
  12    mentioned. And Farhad Azima's name came
  13    up in some of the transactions.
  14          Q.   (Not translated.) Did you ever
  15    use any human intelligence resources to
  16    obtain information about Farhad Azima?
  17          A.   We -- some of the sources
  18    included human intelligence sources.
  19    Some of the sources that involved human
  20    intelligence mentioned the name Farhad
  21    Azima in -- in the context of the
  22    investigation into Khater Massaad.
  23               The first source in this case
  24    told us that Farhad Azima brought Khater
  25    Massaad to your firm to represent him.

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   1          Q.    And so your source was a source
   2    close to Farhad Azima; correct?
   3          A.    It -- it would be more correct
   4    to say he was close to your firm.
   5          Q.    And who was that source?
   6          A.    I'm sorry. I can't divulge that.
   7          Q.    And on what basis will you not
   8    divulge that?
   9          A.    Based on privilege.
  10                THE INTERPRETER: I don't know
  11    if "privilege" is the right word to use.
  12    I think "privilege" is only attorney-client.
  13                "But based on privilege of the
  14    source or maintaining the privacy of the
  15    source."
  16    BY MR. BEHRE:
  17          Q.    (Not translated.) Well, I don't --
  18    I don't think that's a valid basis. And
  19    I'd ask and instruct the witness to answer.
  20                MR. BEHRE: Counsel?
  21                MR. BARET: You can do whatever
  22    you want.
  23                THE WITNESS: "Ma"?
  24                MR. BARET: Do you want to
  25    disclose the source?

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   1               You can -- you can answer.
   2               THE WITNESS: I don't want to
   3    disclose the source.
   4    BY MR. BEHRE:
   5          Q.   (Not translated.) I appreciate
   6    you don't want to. But this is a legal
   7    proceeding. And you're required to disclose
   8    it. And if it's -- if you refuse to do it,
   9    we'll have to go to the Court and seek the
  10    Court's approval to require that disclosure.
  11    And that will require you to come back.
  12          A.   There was a gentleman who presented
  13    himself as a member of the PR staff of your
  14    firm who told the story in a -- kind of a
  15    friendly social context.
  16          Q.   And who was the person with the
  17    PR firm?
  18          A.   I don't recall his name.
  19          Q.   And was the PR person at my firm
  20    or someone that was hired by my firm?
  21          A.   I don't recall.
  22          Q.   The -- the subpoena for documents
  23    also asks you for an engagement letter
  24    relating to Mr. or -- Mr. Azima or the
  25    project.

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   1               Do you see that?
   2          A.   We never had an engagement
   3    letter with Stuart.
   4          Q.   (Not translated.) It's your
   5    testimony you've never had an engagement
   6    letter with Stuart Page?
   7          A.   To the best of my recollection,
   8    we did not have an engagement letter with
   9    Stuart.
  10               (Comment in Hebrew.)
  11               THE COURT REPORTER: Ruchie.
  12               MR. BARET: Can we have a short
  13    break?
  14               THE INTERPRETER: "When are we" --
  15               MR. BARET: He needs a cigarette --
  16               THE INTERPRETER: "Are we going
  17    to have a smoking break?"
  18               MR. BARET: -- and a bathroom
  19    break.
  20               MR. BEHRE: We can have an
  21    e-cigarette break right now. That would
  22    be fine.
  23               MR. BARET: All right. So 15?
  24               THE INTERPRETER: Do we have to
  25    keep working --

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   1               MR. BARET: 10?
   2               THE INTERPRETER: -- if we're not --
   3               MR. BARET: 10, 15 minutes, it's
   4    good?
   5               MR. BEHRE: Yeah. Does he have
   6    to go all the way downstairs? So probably.
   7               THE WITNESS: No.
   8               MR. BARET: I don't know. Is
   9    there a balcony?
  10               MR. BEHRE: We better go off the
  11    record for that discussion.
  12               MR. BARET: Is there a --
  13               THE COURT REPORTER: One moment.
  14               MR. BEHRE: 10 minutes.
  15               THE COURT REPORTER: One moment.
  16               THE VIDEOGRAPHER: Going off the
  17    record at 12:38.
  18               (Recess from 12:38 p.m. to 1:00 p.m.
  19          Israel Daylight Time.)
  20               THE VIDEOGRAPHER: Back on record
  21    at 1:00 o'clock.
  22               (Exhibit 2 marked.)
  23    BY MR. BEHRE:
  24          Q.   I'd like to next show you what
  25    we've marked as Exhibit No. 2 and see if

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   1    you can identify what these are.
   2               For the record, it's a collection
   3    of corporate records from the State of
   4    Florida regarding your company SDC-Gadot.
   5          A.   (Examining.)
   6          Q.   Have you had a chance to look at
   7    those documents?
   8          A.   Yes, now.
   9          Q.   And are they the corporate records
  10    for STD -- SDC-Gadot LLC from the State of
  11    Florida?
  12          A.   It seems so. Yes.
  13          Q.   (Not translated.) And for the
  14    record, the first document is the Articles
  15    of Organization for SDC-Gadot, filed on
  16    October 18th, 2017.
  17          A.   (In English.) Okay.
  18          Q.   The next document contained in
  19    this exhibit is the annual report filed
  20    on April 29, 2018.
  21               The next exhibit --
  22          A.   (In English.) Okay.
  23               (Translated.) Okay.
  24          Q.   The next exhibit is the annual
  25    report filed on January 21st, 2019.

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   1               Do you see that?
   2          A.   Yes.
   3          Q.   And next is the annual report
   4    for SDC-Gadot filed on April 11th, 2020.
   5               Do you see that?
   6          A.   (In English.) Okay.
   7               (Translated.) Okay.
   8          Q.   And the next one is the annual
   9    report for SDC-Gadot filed on February
  10    3rd, 2021.
  11               Do you see that?
  12          A.   Yes. They're pretty well --
  13          Q.   And then finally --
  14          A.   -- organized.
  15          Q.   (Not translated.) And then,
  16    finally, do you see the annual report that
  17    was filed for SD -- SDC-Gadot on January
  18    27th, 2022?
  19               THE INTERPRETER: 27? January --
  20               MR. BEHRE: Yes.
  21               THE INTERPRETER: -- 27?
  22               MR. BEHRE: January 27, 2022.
  23               (Pending question translated.)
  24               THE WITNESS: Okay. Yes.
  25    //

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   1    BY MR. BEHRE:
   2          Q.   So this is the articles of
   3    incorporation [sic] filed in 2017 and
   4    the annual reports up to this year 2022;
   5    right?
   6          A.   Okay.
   7          Q.   Looking at the Articles of
   8    incorporation -- or of -- of Organization --
   9    apologies -- which is the first page
  10    of the exhibit, it indicates a mailing
  11    address in Miami, Florida.
  12               Do you see that?
  13          A.   Yes.
  14          Q.   And whose address is that?
  15          A.   I imagine that this is the agent
  16    through which we set up the company, because
  17    we had to provide a -- an address, a local
  18    address.
  19          Q.   And do you know who lives at the --
  20    this address?
  21          A.   No.
  22          Q.   And if you look at the second
  23    page of this exhibit -- or I'm sorry --
  24    the second page of this document, the
  25    Articles of Organization for October 18,

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   1    2017, there's an electronic signature
   2    affixed to it.
   3               Do you see that?
   4          A.   Aah, yes.
   5          Q.   And that electronic signature
   6    purports to be yours; correct?
   7               MR. BARET: Here. (Indicating.)
   8    The back of the page. It just says:
   9               "Amit Forlit."
  10               THE WITNESS: I'm looking for it.
  11               MR. BARET: The second page.
  12               THE WITNESS: (Comment in Hebrew.)
  13               It's not a manual signature, not
  14    a handwritten signature.
  15    BY MR. BEHRE:
  16          Q.   Right.
  17               It's an electronic signature.
  18          A.   I don't recall. But it would
  19    seem so.
  20          Q.   So do you -- do you see the page
  21    that I'm asking about? It's -- turn to the
  22    page that has the exhibit sticker on it.
  23               MR. BARET: This one. (Indicating.)
  24    The -- the back of this page.
  25    //

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   1    BY MR. BEHRE:
   2          Q.   And flip it over.
   3          A.   Aah. "Po."
   4          Q.   And it indicates that your
   5    electronic signature was affixed to
   6    this document; correct?
   7          A.   Yes.
   8          Q.   And did you electronically
   9    sign this document?
  10          A.   I assume I did. I do not recall.
  11          Q.   Okay. And this document was filed
  12    electronically with the State of Florida;
  13    correct?
  14          A.   Correct.
  15          Q.   Now, going to the first annual
  16    report dated April 29, 2018.
  17               Do you see that?
  18          A.   Yes.
  19          Q.   And it indicates on the signature
  20    line -- again, electronically signed -- that
  21    you signed as the CEO of the company.
  22               Is that correct?
  23          A.   Yes.
  24          Q.   And if you go to the next one
  25    from January 21st, 2019, again -- again,

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   1    you electronically signed here, indicating
   2    that you are the, quote, "Owner," end
   3    quote --
   4          A.   (In English.) Okay. "Kin."
   5          Q.   -- of the company; correct?
   6          A.   Okay. Yes.
   7          Q.   And did all -- were all those
   8    documents filed electronically with the
   9    State of Florida, as best you know?
  10          A.   Yes.
  11          Q.   And did you authorize the
  12    submission of all these documents on
  13    behalf of SDC-Gadot LLC in Florida?
  14          A.   I assume I did.
  15          Q.   And it -- the -- the first
  16    page indicates -- that is, the Article
  17    [sic] of Organization indicates that
  18    your registered agent in the State of
  19    Florida is Shimon Goldberger; is that
  20    correct?
  21          A.   I assume it is.
  22          Q.   Did you hire Mr. Goldberger
  23    and his company SRSL Management, Inc.,
  24    to represent SDC-Gadot in Florida?
  25          A.   I don't recall such a thing.

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   1          Q.    Do you know who Mr. Goldberger
   2    is?
   3          A.    Only recently, when he made
   4    contact with us in order to send us the
   5    subpoena, I have learned of his existence.
   6    To the best of my knowledge, we did not
   7    hire him and we did not pay him. We used
   8    his address when setting up the company.
   9          Q.    And when you signed electronically
  10    the Articles of Organization, it indicates
  11    on the document you electronically signed
  12    that your registered agent was Shimon
  13    Goldberger. And he too affixed an
  14    electronic signature.
  15                Do you see that?
  16          A.    I see it. But I simply do not
  17    remember.
  18          Q.    And looking at the annual report
  19    from April 29, 2018, the current principal
  20    place of business has changed. And now
  21    it indicates an address in New York.
  22                Do you see that?
  23          A.    Yes.
  24          Q.    And the address is West 210
  25    89th Street in New York City; correct?

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   1          A.   Yes.
   2          Q.   And in -- in one place says
   3    Apartment 1K. And in another place,
   4    it says apartment K1.
   5               Do you know which is correct?
   6          A.   I believe it to be the same.
   7          Q.   Who lives at that address?
   8          A.   A friend of mine.
   9          Q.   What's your friend's name?
  10          A.   Elad Lev Ran.
  11          Q.   Could you spell the last name?
  12          A.   L-e-v, dash, R-a-n.
  13               THE INTERPRETER: No. "Revach."
  14    "Space."
  15               THE WITNESS: For -- simply for
  16    the purpose of receiving mail. Because,
  17    once again, I do not know what was the
  18    first address. So we changed the address
  19    so, when the bank would send documents,
  20    they would arrive.
  21    BY MR. BEHRE:
  22          Q.   And, for example, where did the
  23    Citibank records get mailed to?
  24          A.   As far as Citibank is concerned,
  25    mostly they would send a debit card. But

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   1    the rest of the documents was usually sent
   2    via the application, the app.
   3          Q.    And did they send those -- did
   4    they send the debit cards to New York or
   5    to Miami?
   6          A.    No. They sent it to Israel.
   7                I had a fraud event with my card.
   8    So I canceled the card. And they sent me
   9    a new card, which they sent to Israel.
  10          Q.    And the fraud on the card was
  11    for a debit card?
  12          A.    Yes.
  13          Q.    Who actually used those debit
  14    cards during the life of this account at
  15    Citibank?
  16          A.    I did.
  17          Q.    Did anyone else use those cards?
  18          A.    With the exception of the fraud
  19    case --
  20          Q.    Yes.
  21          A.    -- nobody else.
  22          Q.    So all the purchases, then, that
  23    would be indicated in the bank statements
  24    for Citi that were made on the debit card
  25    would have been your personal charges;

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   1    correct?
   2          A.   These are not personal expenses.
   3    These are company expenses.
   4          Q.   (Not translated.) And so when
   5    you purchased a Porsche in Pennsylvania,
   6    was that a business expense or a personal
   7    expense?
   8               THE INTERPRETER: When you acquired
   9    what? Sorry.
  10               MR. BEHRE: Porsche.
  11               THE INTERPRETER: Porsche, the car?
  12               (Pending question translated.)
  13               THE WITNESS: I never bought a
  14    Porsche in Pennsylvania.
  15    BY MR. BEHRE:
  16          Q.   Okay. We'll get to that.
  17               What e-mail addresses were
  18    associated with SDC-Gadot, if any?
  19          A.   I believe "amit001@me.com."
  20          Q.   And in addition, did you ever
  21    use "amit@gadot.com"?
  22          A.   No. No. I used "amit@gadot.co"
  23    [sic] not ".com."
  24          Q.   Did anyone else associated with
  25    SDC-Gadot use a e-mail address that ended

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   1    with "@gadot.co"?
   2          A.   I believe no.
   3          Q.   Did you receive an e-mail from
   4    Mr. Goldberger, attempting to resign as
   5    your registered agent?
   6          A.   Could be. I don't recall.
   7          Q.   Do you recall he threatened to
   8    resign?
   9          A.   I -- I remember he sent something
  10    that he was being pestered by all these
  11    subpoenas that are being sent to him. And
  12    he -- he asked us to put a stop to it.
  13               But since we did not receive them,
  14    we did not know what to answer.
  15               I understood belatedly that what
  16    he had written was "com" instead of "co"
  17    and that's why we did not get these mails.
  18          Q.   Now, during the course of this
  19    litigation in Florida, you've submitted
  20    two affidavits; is that correct?
  21          A.   I assume yes.
  22          Q.   And one of those affidavits was
  23    signed by you on May 12th, 2022. And the
  24    second was signed by you on June 1st, 2022.
  25               Do you recall that?

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   1          A.   Yes.
   2               (Exhibit 3 marked.)
   3    BY MR. BEHRE:
   4          Q.   I'd like to next show you what's
   5    been marked as Exhibit No. 3.
   6               MR. BEHRE: Do we have a stapler
   7    by any chance?
   8               THE COURT REPORTER: Moshe, go off.
   9               THE VIDEOGRAPHER: Off the record
  10    at 1:19.
  11               (Recess from 1:19 p.m. to 1:21 p.m.
  12          Israel Daylight Time.)
  13               THE VIDEOGRAPHER: Back on the
  14    record at 1:21.
  15    BY MR. BEHRE:
  16          Q.   So looking at Exhibit 3 -- and
  17    when I say Exhibit 3, I'm talking about
  18    the sticker that says Exhibit 3. And,
  19    unfortunately, the document happens to
  20    have typed on it "Exhibit 2," which is
  21    from the court case. So apologies for
  22    that confusion.
  23               But this is Exhibit 3.
  24          A.   (Examining.) Okay.
  25          Q.   Are those the two affidavits

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   1    that you submitted to the Court in Florida?
   2          A.   Yes.
   3          Q.   And were each of those affidavits
   4    filed electronically, as indicated in the
   5    top of the doc -- of each affidavit?
   6          A.   I assume they did.
   7          Q.   Directing your attention to the
   8    first affidavit that you signed on May the
   9    12th, 2022 -- so it's the second page of
  10    the exhibit.
  11          A.   Okay.
  12          Q.   And it indicates in the second
  13    paragraph -- numbered paragraph:
  14               "I do not reside in the State
  15    of Florida."
  16          A.   Correct.
  17          Q.   And it says:
  18               "I do not reside in the United
  19    States."
  20               Do you see that?
  21          A.   Yes.
  22          Q.   Have you ever resided in the
  23    State of Florida?
  24          A.   Only as a tourist. I never
  25    resided there.

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   1          Q.   Have you ever resided in the
   2    United States?
   3          A.   No.
   4          Q.   Have you ever purchased a
   5    vacation home in the United States?
   6          A.   No.
   7          Q.   Have you ever attempted to
   8    purchase a vacation home in the United
   9    States?
  10          A.   No.
  11          Q.   Did you ever form an LLC to
  12    purchase a vacation home in the United
  13    States?
  14          A.   No. I bought once a caravan,
  15    an RV.
  16          Q.   Did you ever form an LLC with
  17    your wife in an effort to buy a vacation
  18    home somewhere in the United States?
  19          A.   (Translated.) I set up an LLC
  20    with my wife in order to buy a caravan,
  21    not --
  22               (In English.) "RV."
  23               (Translated.) -- not a vacation
  24    home. An RV.
  25               (In English.) Recreational vehicle.

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   1          Q.   What was the last part? Sorry.
   2               THE INTERPRETER: "An RV."
   3               THE WITNESS: RV. Rec --
   4               THE INTERPRETER: Recreational --
   5               THE WITNESS: Recreational --
   6               THE INTERPRETER: -- vehicle.
   7               THE WITNESS: -- vehicle.
   8               THE INTERPRETER: An RV.
   9    BY MR. BEHRE:
  10          Q.   And when -- when was that?
  11          A.   I believe it was in 2012. And
  12    then when we -- maybe 20 -- or maybe 2014.
  13               THE INTERPRETER: He adds.
  14               THE WITNESS: And when we divorced
  15    in 20 -- the end of 2017, beginning of
  16    2018, as part of the divorce arrangement,
  17    I transferred to her the ownership of the
  18    RV.
  19    BY MR. BEHRE:
  20          Q.   And while you owned the RV, where
  21    was it stored when it was not being used?
  22          A.   It was in use about one month
  23    or one month and a half per year. And
  24    we would store it in the place that we
  25    would be -- we would be arriving at.

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   1          Q.   And what state was that?
   2          A.   I believe we visit -- visited
   3    something like 30 states, like all over
   4    the place.
   5          Q.   Was it ever stored in the State
   6    of Florida?
   7          A.   I don't believe so.
   8          Q.   Where would --
   9          A.   Because we were more in -- on the
  10    west.
  11          Q.   And where -- from what state were
  12    the license plates obtained from?
  13          A.   I don't -- I honestly don't remember.
  14          Q.   In what state did you purchase the
  15    RV?
  16          A.   New Jersey.
  17          Q.   Now, you indicate in the third
  18    paragraph of this affidavit dated May 12,
  19    2022, that SDC-Gadot LLC:
  20               "Has not conducted business in
  21    the State of Florida."
  22               Do you see that?
  23          A.   Yes.
  24          Q.   Is that an accurate statement?
  25          A.   I believe it is.

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   1          Q.   And when you say you -- it --
   2    the company "has not conducted business
   3    in the State of Florida," what do you mean?
   4          A.   That we did not do any business
   5    in the State of Florida. We -- we did not
   6    carry out any investigation. And we did
   7    not conduct any business activity.
   8          Q.   Did you engage in any financial
   9    transactions that involve the State of
  10    Florida?
  11          A.   Please define if -- what you mean
  12    by the "State of Florida."
  13               Like, if somebody in Florida made
  14    a payment to me, does this mean that it
  15    involves the State of Florida?
  16          Q.   Did you give or receive any funds
  17    from an entity or person in the State of
  18    Florida?
  19          A.   Possibly. I do not remember.
  20          Q.   And you indicate, at the end
  21    of paragraph 3, that SDC-Gadot:
  22               "Has not conducted any business
  23    in years."
  24               Correct?
  25          A.   Well, what I mean by that is,

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   1    since the closure of the account about
   2    a year and a half ago, maybe even a
   3    little before that -- sadly, since the
   4    beginning of COVID -- I do not recall
   5    any activity after that.
   6          Q.   When is the last time that
   7    SDC-Gadot conducted business?
   8          A.   I believe -- I believe before
   9    the summer of 2021. 2020 maybe.
  10          Q.   And what business was conducted
  11    in 2020?
  12          A.   I think collecting funds from
  13    somebody who was owing me money. But it
  14    was not an activity per se.
  15          Q.   So you would agree receiving
  16    funds is conducting business; correct?
  17          A.   It's a -- it's a business
  18    transaction of the account, not of the
  19    company. The company did not carry out
  20    any -- any activity.
  21          Q.   Well, the statement says that
  22    the company "has not conducted any business
  23    in years," which clearly suggests that it
  24    had conducted business at some point.
  25               So what does it mean when you

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   1    add to your statement "in years"?
   2           A.   When I say "in years," we're
   3    already talking about two years and more.
   4    When COVID started, we practically stopped
   5    any operations, also in Gadot in Israel.
   6    And my meaning is that there was no work
   7    carried -- carried out. If there were
   8    some collecting of funds or debts, in
   9    my opinion, this is not operations.
  10           Q.   Looking next at the second
  11    affidavit, which you executed on June
  12    the 1st, 2022.
  13                Do you have that in front of
  14    you?
  15           A.   Yes.
  16           Q.   You indicate, in paragraph 3,
  17    you had not been in the State of Florida
  18    since 2017; correct?
  19           A.   Correct.
  20           Q.   And what were you doing in
  21    Florida in 2017?
  22           A.   I opened a bank account.
  23           Q.   And which bank account was that?
  24           A.   The account in Citibank, which
  25    is the bank account of SDC-Gadot.

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   1          Q.   And you came to Florida in 2017
   2    solely for the purpose of opening that
   3    account or for some other reason?
   4          A.   I came as a tourist. I visited
   5    some friends. And then I took a flight
   6    to D.C.
   7          Q.   And what did you do when you
   8    arrived in D.C.?
   9          A.   I don't recall. I assume that
  10    I had business meetings.
  11          Q.   During that trip in 2017, did
  12    you meet with anyone from the Dechert law
  13    firm?
  14          A.   No. I didn't meet anyone in there.
  15    The only person I knew from Dechert was Neil.
  16    And I didn't meet him in the United States.
  17          Q.   (Not translated.) Well, earlier
  18    you indicated you knew David Hughes as well,
  19    who was at Dechert; right?
  20          A.   David Hughes worked at Stewarts
  21    Law before that, before I knew him.
  22          Q.   Well, where did he work first,
  23    Dechert or Stewarts Law?
  24          A.   When I met him, he was working
  25    at Stewarts Law. And I was told that,

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   1    previously, he had worked at Dechert.
   2          Q.   (Not translated.) Okay. Now,
   3    in paragraph 3 as well, you say the last
   4    time you were in the United States was 2019.
   5               What were you doing in the U.S.
   6    in 2019?
   7          A.   I was on a trip in the Yosemite
   8    National Park and went up to Canada. I
   9    was with my partner.
  10          Q.   You indicate, in paragraph 6,
  11    that you are an investigator and you
  12    were hired by Stuart Page to, quote:
  13               "Run intelligence gathering
  14    services."
  15               End quote.
  16               Do you see that?
  17          A.   I'm looking -- looking for it.
  18               Yes, I see it.
  19          Q.   Are you considered a private
  20    investigator?
  21          A.   Among other things, yes.
  22          Q.   Are you registered as a private
  23    investigator here in Israel?
  24          A.   I'm registered. And I have a --
  25    the -- a firm certificate.

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   1          Q.    Are you -- do you have a license
   2    to be a private investigator?
   3          A.    There are two levels. I'm --
   4    I have a private investigator's license.
   5    And I have a license to run an -- an
   6    investigating firm. I don't actually
   7    use them here in Israel.
   8                But I have those documents
   9    from the Justice Department or Ministry.
  10    I don't think I've even renewed those
  11    licenses.
  12          Q.    (Not translated.) Has your
  13    license ever been suspended or revoked
  14    by the Government of Israel?
  15          A.    Yes. Yes. I don't even recall
  16    why they suspended it. But then they
  17    reinstated.
  18          Q.    And do you recall what year
  19    it was suspended?
  20          A.    2005 or '6.
  21          Q.    And did it relate to your
  22    involvement in smuggling someone out
  23    of the State of Israel who was wanted
  24    by the Israeli Government?
  25          A.    I was accused of that. There

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   1    was a trial. I was not found -- I was
   2    not convicted. And so my license was
   3    restored.
   4          Q.    So that was the reason your
   5    license was suspended?
   6          A.    I think so. But I don't
   7    recall exactly.
   8          Q.    Who was the person you were
   9    accused of smuggling?
  10                MR. BARET: Excuse me. How
  11    does that relate to SDC-Gadot Florida,
  12    which is the purpose of this deposition?
  13                MR. BEHRE: It's right in
  14    his affidavit. He's claiming he's an
  15    investigator. And I'm probing about
  16    his license to be --
  17                MR. BARET: This is --
  18                MR. BEHRE: -- an investigator.
  19                MR. BARET: -- not -- this wasn't
  20    for SDC Gadot. This affidavit was -- was --
  21    was provided to the Court as an objection
  22    to deposing personally. It wasn't --
  23                MR. BEHRE: It doesn't matter.
  24    It's the same case.
  25                MR. BARET: No, it's not.

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   1               I mean, there is objection to
   2    his deposition, which the Court has not
   3    ruled yet. We objected for his deposition.
   4    And since you came from Washington, I'm --
   5    I'm -- I'm sitting quietly and I'm trying
   6    not to interfere. But it turns out that
   7    you are deposing Amit Forlit as Amit Forlit,
   8    which we objected to this deposition. And
   9    the Court hasn't ruled yet.
  10               And we're here for the purposes
  11    of investigating or taking deposition of
  12    a representative of SDC-Gadot Florida.
  13               MR. BEHRE: Correct.
  14               MR. BARET: Now, it happens to
  15    be Amit Forlit. But the Court has not
  16    ruled as to our objection to depose him
  17    personally. And it turns out that this
  18    deposition turns to be taking a deposition
  19    in his personal capacity, which we are
  20    objecting and -- object to. So --
  21               MR. BEHRE: In the affidavit,
  22    paragraph 5, he specifically references:
  23               "SDC-Gadot LLC."
  24               In paragraph 6, he says:
  25               "I am an investigator."

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   1               MR. BARET: This is -- this
   2    affidavit was provided in our objection
   3    to depose him personally. It wasn't --
   4               MR. BEHRE: I'm -- I'm --
   5               MR. BARET: We never objected to
   6    deposition of SDC-Gadot. We're not objecting
   7    to SDC-Gadot. It's a Florida corporation.
   8    He happens to be a representative of that
   9    corporation. And I request that your
  10    questioning will be related to SDC-Gadot
  11    and not to Amit personally, as the Court
  12    hasn't ruled yet as to your right to depose
  13    him personally. If the Court will --
  14               MR. BEHRE: Okay. I hear your
  15    objection.
  16               MR. BARET: -- rules that he can
  17    be deposed, then we'll -- we'll come here
  18    again. And you can depose Amit Forlit in
  19    his personal capacity.
  20    BY MR. BEHRE:
  21          Q.   (Not translated.) Sir, you're
  22    aware that the Court ordered you to be
  23    deposed in Florida; correct?
  24          A.   (In English.) Yes.
  25          Q.   And you know, as a courtesy to

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   1    you, we came here; right?
   2          A.    First of all, I truly appreciate
   3    the fact that you came here. As far as
   4    the deposition is concerned, we submitted
   5    an objection, which has not been answered
   6    yet. And like the other people present,
   7    we could have done it by Zoom.
   8          Q.    But it wouldn't have been as
   9    intimate as this is.
  10          A.    That's the reason why I'm happy
  11    that you came here.
  12          Q.    Well, thank you. I'm glad to
  13    be here.
  14                Whose idea was it to call the
  15    project that's the subject of SDG-Gadot
  16    [sic] Project Beech?
  17          A.    Stuart Page idea. [sic]
  18          Q.    And Stuart Page uses the term
  19    "SIGINT."
  20                Did SDC-Gadot use SIGINT?
  21          A.    I can -- I can state the various
  22    methods that -- that SDC-Gadot used. But,
  23    you know, SIGINT is a -- quite an umbrella
  24    term that comes from -- from the field of
  25    defense. And on top of that, Gadot SDC did

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   1    not use anything. It operated Gadot Israel.
   2          Q.   (Not translated.) Well, it did
   3    operate Gadot Israel, didn't it?
   4               Because it facilitated the money
   5    that was owed to Gadot Israel and that money
   6    ran through Florida; right?
   7          A.   (Comment in Hebrew.)
   8               THE INTERPRETER: (Comment in
   9    Hebrew.)
  10               May I? I'm not sure you got
  11    correctly the --
  12               THE COURT REPORTER: No, just --
  13               THE INTERPRETER: -- translation.
  14               You -- he said that SDC-Gadot was
  15    operating Gadot Israel.
  16               MR. BEHRE: Uh-huh.
  17               THE INTERPRETER: Okay? Okay.
  18               (Pending question translated.)
  19               THE WITNESS: Yes.
  20    BY MR. BEHRE:
  21          Q.   Did any of the payments that
  22    SDC-Gadot received relate to Gadot's
  23    use of subcontractors who were located
  24    in the United States?
  25          A.   Not that I can recall.

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   1          Q.   Did you have any subcontractors
   2    in the United States?
   3          A.   Not subcontractors. I had vendors
   4    that I paid, not --
   5          Q.   And did you have --
   6          A.   -- subcontractors.
   7          Q.   Did you have vendors located
   8    in the United States?
   9          A.   I had vendors in the United
  10    States. But they are not connected to
  11    the case related to Stuart Page.
  12          Q.   When you were drafting the
  13    reports that you spoke about earlier
  14    today, did you have an e-mail account
  15    you shared with Stuart Page's assistant
  16    Caroline in which you created the reports?
  17          A.   As part of transferring the
  18    reports, we had something that was called
  19    a DLB, a dead letter box. The reports
  20    were sent through that account. But I
  21    don't recall who drafted them.
  22          Q.   But they were drafted by someone
  23    under your direction; correct?
  24          A.   I would assume that yes.
  25               Because part of our expertise

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   1    was to set the security protocols, because
   2    we were experts in cyber-security. So
   3    that was why we did it in this way, why
   4    it was decided to do it in this way.
   5          Q.   So if I understand the way the
   6    dead letter box works is that you share
   7    an e-mail account. And you or someone
   8    at your direction writes something in
   9    the e-mail. And then Caroline, on the
  10    other side, accesses that same e-mail
  11    account, because she knows the password
  12    too. And then Stuart Page gets the report.
  13          A.   Basically, yes. But it's much
  14    more complicated than that. And there's
  15    much more security surrounding it.
  16          Q.   And why was there so much secrecy
  17    and security about these reports?
  18          A.   So starting from the beginning
  19    of the investigation, one of the greatest
  20    concerns of the boss was that Khater
  21    Massaad had joined forces with someone
  22    else or other people in his family and
  23    they wanted to topple him.
  24               Throughout the investigation,
  25    there were bizarre things that occurred

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   1    where there was a lack of cooperation
   2    with the Emirates, for example, and
   3    other authorities. And after all,
   4    the boss is the State.
   5               So later we discovered that
   6    there were other parties who were harming
   7    or trying to harm the investigation and
   8    the boss. And that's why we set up these
   9    security protocols.
  10          Q.   And part of the objective of
  11    your work was to prevent those who you
  12    thought was harming RAK from doing harm;
  13    right?
  14          A.   So from -- the investigation
  15    concentrated or focused on the criminal
  16    activities carried out by Khater Massaad,
  17    both business -- in business and in politics,
  18    such as, for example, assisting Hezbollah
  19    or violating the sanctions on Iran and
  20    he -- and the use -- his use of various
  21    infrastructures belonging to RAK, the
  22    State, in order to commit these illegal
  23    activities, criminal activities.
  24               In -- among other things, we
  25    provided protection. And our work included

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   1    protecting -- creating protocols in order
   2    to project -- protect the entire environment.
   3    The boss was very, very concerned. And he --
   4    he refused even to talk on the telephone
   5    because he was so concerned.
   6          Q.   And SDC-Gadot received payments
   7    that were, at least in part, for the
   8    preparation of those reports; correct?
   9          A.   (Translated.) So SDC-Gadot
  10    received payment for the whole Beech
  11    case. And that included the security
  12    protocols and --
  13               (In English.) The reports.
  14               (Translated.) -- the reports.
  15          Q.   And it also included payments
  16    for the work that was reflected in those
  17    reports; right?
  18          A.   Yes.
  19          Q.   Now, as part of your work for
  20    which you were paid through SDC-Gadot,
  21    you attended two meetings in Cyprus;
  22    correct?
  23          A.   I held more than two meetings
  24    in Cyprus.
  25          Q.   Okay. How many were there?

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   1          A.   So in this -- I don't recall
   2    how many exactly.
   3               But in this case, I held meetings
   4    about once a month with Stuart and also
   5    sometimes with James and Neil, but must --
   6    much less frequently than with Stuart.
   7    The meetings were held on an as-needed
   8    basis, not on a specific day or month
   9    or something like that.
  10               Cyprus was simply a convenient
  11    location because they could stop there
  12    on their way from Dubai to England. And
  13    for me, it's just a very short flight.
  14          Q.   So approximately how many meetings
  15    were held in Cyprus involving your work
  16    for Stuart Page?
  17          A.   I can estimate about five to
  18    ten meetings were held with Stuart in
  19    Cyprus.
  20          Q.   And how many of those were
  21    attended by Neil Gerard?
  22          A.   I think just one.
  23          Q.   How many were held with David
  24    Hughes?
  25          A.   The same one.

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   1          Q.   How about with Jamie Buchanan?
   2          A.   I think, with Jamie Buchanan, we
   3    met at least three times over that period
   4    in Cyprus.
   5          Q.   How about Majdi Halabi, how many
   6    times did you meet with him in Cyprus?
   7          A.   Once.
   8          Q.   And did you meet in Cyprus with
   9    at least some of these people on November
  10    21st, 2018?
  11          A.   There was one meeting --
  12               MR. BARET: What -- what's the
  13    date of the -- the meeting you're referring
  14    to?
  15               MR. BEHRE: November 21st, 2018.
  16               THE INTERPRETER: So I'll just --
  17               "There was one meeting in Cyprus.
  18    It was a -- a team meeting that -- and
  19    Majdi was present for a short part of it,
  20    the part that related to him. I -- if I --
  21    if I could see Majdi's affidavit, I would
  22    be able to tell you exactly when it was."
  23    BY MR. BEHRE:
  24          Q.   So Majdi Halabi's affidavit was
  25    accurate on this point?

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   1          A.   (In English.) If -- if -- if
   2    I can see the -- the affidavit, I can
   3    refer to it. But --
   4               (Translated.) If I could look
   5    at it, I could tell you what is accurate
   6    and what's not.
   7               MR. BEHRE: Okay. I think we're
   8    at -- why don't we take our break. It's
   9    2:00 o'clock.
  10               MR. BARET: Okay.
  11               THE INTERPRETER: Good idea.
  12               THE VIDEOGRAPHER: Going off the
  13    record at 2:00 o'clock.
  14               (Recess from 2:00 p.m. to 3:06 p.m.
  15          Israel Daylight Time.)
  16               THE VIDEOGRAPHER: Going back on
  17    record at 3:06.
  18    BY MR. BEHRE:
  19          Q.   Okay. I'd like to go back to
  20    something we talked about earlier, which
  21    relates to Stuart Page's payments to Gadot.
  22               Do you know about how much Stuart
  23    Page, through his entities, paid to SDC-Gadot?
  24          A.   Yes.
  25          Q.   Do you know about how much?

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   1          A.   We have to go back to the records.
   2    But in terms of the U.S. companies, it was
   3    between two hundred, two hundred and one
   4    per month. Relating to this specific case.
   5    Because there are other cases as well.
   6          Q.   Okay. Would it surprise you
   7    if, into your Gadot account at Citibank
   8    in the U.S., the total amount received
   9    from Page Group, Page Group ME, and Page
  10    Risk Management totals more than $2.6
  11    million?
  12          A.   It wouldn't surprise me. And
  13    it is not only for this specific case.
  14          Q.   Okay. How did you first meet
  15    Stuart Page?
  16          A.   I believe it was in 2008 or
  17    2007.
  18          Q.   And how did you meet him?
  19          A.   I went to London. And I was
  20    requested to do some job for him.
  21          Q.   Requested by who?
  22          A.   Through a mutual acquaintance
  23    for whom I was working at the time.
  24          Q.   And who is that mutual
  25    acquaintance?

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   1          A.   How is this connected to
   2    this case?
   3          Q.   It's directly related. Stuart
   4    Page paid you 2 point -- Stuart Page paid
   5    you $2.6 million into the U.S. account.
   6               And I want to know how it is you
   7    first came in contact with Stuart Page.
   8          A.   I met him through a mutual
   9    acquaintance. I believe it was Mr. Rafi
  10    Pridan.
  11               MR. BEHRE: What's the name?
  12               THE INTERPRETER: Rafi Pridan.
  13    Rafi Pridan.
  14    BY MR. BEHRE:
  15          Q.   And Mr. Pridan's been convicted
  16    of hacking, hasn't he?
  17          A.   I'm not familiar with this.
  18    I don't think so.
  19          Q.   He's been charged with hacking,
  20    hasn't he?
  21          A.   No. To the best of my knowledge,
  22    he was not accused of hacking.
  23          Q.   Okay. And what you -- you said
  24    it was 2008 when you first met him?
  25          A.   I think so.

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   1          Q.   When were you first hired for
   2    Project Beech?
   3          A.   I believe it was March 2015.
   4          Q.   So you worked with Stuart Page
   5    for approximately seven years before this
   6    project; right?
   7          A.   Not consistently. But between
   8    2008 and 2015, on and off.
   9          Q.   And did your work for Stuart Page,
  10    relating to Khater Massaad and the others,
  11    such as Farhad Azima, did they go by any
  12    other name than Project Beech?
  13          A.   I was working only on Khater
  14    Massaad, as the subject of my investigation.
  15    And it went only under Project Beech.
  16          Q.   Was there ever a time when that
  17    investigation was also called Project Oak?
  18          A.   No. Project Oak is something else.
  19          Q.   Okay. You testified earlier that
  20    you did not have a retainer agreement with
  21    Stuart Page; is that correct?
  22          A.   To the best of my recollection,
  23    there was no retainer agreement.
  24               Occasionally, when we had problems
  25    with funds transferring with Hong Kong,

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    1    we would make some arrangements that would
    2    pacify the banks. But to the best of my
    3    recollection, there was no organized orderly
    4    retainer agreement with him.
    5         Q.    What was the purpose for which
    6    you were hired?
    7         A.    You mean on the Beech Project?
    8         Q.    Yes.
    9         A.    As I specified earlier, there
   10    were concerns and suspicions on the part
   11    of the boss that Khater Massaad was stealing,
   12    was causing damage to the State, including
   13    assistance given to political opponents,
   14    including felonies that would embarrass
   15    the boss very seriously vis-a-vis the
   16    United States, in terms of violations
   17    of the sanctions against Iran.
   18         Q.    Did your investigation involve
   19    at all Karam Al Sadaq?
   20         A.    The correct name is Karam Al --
   21    Karam --
   22               THE INTERPRETER: Karam Al --
   23               THE WITNESS: -- Al Sadeq.
   24               THE INTERPRETER: -- Sadeq.
   25               THE WITNESS: Karam. Karam.

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    1               THE INTERPRETER: Karam Al --
    2    Karama?
    3               THE WITNESS: Karam.
    4               THE INTERPRETER: Karam Sadeq.
    5               THE WITNESS: "Kaf," "aleph,"
    6    "mem" -- "resh," "mem."
    7               THE INTERPRETER: Karam Sadeq.
    8               THE WITNESS: Karam Al Sadeq.
    9               THE INTERPRETER: Karam Al Sadeq.
   10               THE WITNESS: I also speak Arabic.
   11               When we launched our investigation,
   12    Karam was already arrested by the authorities
   13    of RAK. And we did -- we did get feedback
   14    from -- concerning him from the investigation.
   15    He had already been investigated by RAK, among
   16    other things, concerning offshore companies
   17    that he had.
   18    BY MR. BEHRE:
   19         Q.    The allegations against Al Sadeq
   20    were similar to the allegations against
   21    Massaad; right? They were related?
   22         A.    Not -- not exactly.
   23               To the best of my recollection,
   24    Sadeq assisted in creating the infrastructure
   25    for Massaad's activity. But the -- the

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    1    initiator was Massaad.
    2         Q.    Were you present for any of the
    3    interrogations of Al Sadaq?
    4         A.    No. And I've never been to Ras
    5    Al Khaimah.
    6         Q.    And how long did you work on
    7    Project Beech for for which payments were
    8    received by SDC-Gadot?
    9         A.    I estimate that it was from the
   10    beginning of 2018 and up to April 2020.
   11         Q.    Right before we went to lunch,
   12    we talked about a meeting that you recalled
   13    in Cyprus.
   14               Do you remember that discussion?
   15         A.    Yes.
   16         Q.    And that was on November 21st,
   17    2018?
   18         A.    (Translated.) I have to see
   19    the affidavit of Majdi Halabi in order
   20    to remember --
   21               (In English.) The exact date.
   22               (Translated.) -- the exact date.
   23         Q.    Well, wouldn't your travel records
   24    show?
   25         A.    Yes. But I don't have them with

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    1    me right here.
    2         Q.    Well, I'm -- I'm confused.
    3               Because I thought you didn't --
    4    you thought Mr. Halabi wasn't telling the
    5    truth.
    6               But you want to read his witness
    7    statement to find out what the truth is?
    8         A.    Mr. Halabi stated in -- two
    9    meetings in his affidavit. One of them
   10    was not held. If I see -- if I -- if
   11    I see his affidavit, I will see in which
   12    meeting -- to which meeting he relates
   13    where Mr. Hughes was present. And that
   14    is the meeting that did take place indeed.
   15    But I need to see the affidavit in order
   16    to -- to ascertain that.
   17         Q.    Well, putting aside the precise
   18    day, was it November 2018?
   19         A.    Once again, I think so.
   20         Q.    Okay. And that was the meeting
   21    where Hughes was present, Gerard was
   22    present, Buchanan was present; right?
   23         A.    Yes.
   24         Q.    And Halabi was present?
   25         A.    In part of it. And Stuart

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    1    also.
    2         Q.    And Stuart Page.
    3               What was discussed at that
    4    meeting, if you recall?
    5         A.    It was a coordination meeting
    6    concerning the management of the case.
    7    One of the subjects was the fact that
    8    in the procedure -- or the proceedings --
    9               THE INTERPRETER: Sorry.
   10               THE WITNESS: -- involving
   11    Farhad Azima, Stuart was requested to
   12    tell who was it that divulged to him
   13    the existence of the leaked materials.
   14               Since the -- there was a fear
   15    on the part of the client to divulge that
   16    an Israeli firm was working for him and
   17    that it would be mis-used by his political
   18    opponents, we decided that Majdi Halabi,
   19    who was working on the case, is the one
   20    who will say that he is the one who told
   21    Stuart about the leaked information or
   22    the leaked files, leaked materials.
   23               And I'd like to clarify that,
   24    to this day, we do not know who it was
   25    who had reported to Stuart the existence

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    1    of those leaked documents.
    2    BY MR. BEHRE:
    3         Q.    So when you attended that
    4    meeting in Cyprus in November 2018,
    5    you were paid by Page -- one of Page's
    6    entities to SDC-Gadot; right?
    7         A.    As I said before, the payment
    8    was made for the entire activity on
    9    this case, among other things for that
   10    specific meeting.
   11         Q.    And that specific meeting
   12    concerned Farhad Azima; correct?
   13         A.    This was -- this related
   14    to a legal proceedings that the client
   15    had requested us to refer to, legal
   16    proceedings bearing on or touching
   17    Farhad Azima.
   18         Q.    So you were paid to attend
   19    the meeting in Cyprus that concerned
   20    Farhad Azima; correct?
   21         A.    Yes.
   22         Q.    Who ran that meeting in Cyprus?
   23         A.    I think it was Neil.
   24         Q.    You ran the meeting?
   25         A.    (Comment in Hebrew.)

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    1               THE INTERPRETER: (Comment in
    2    Hebrew.)
    3               MR. BARET: He said "Neil."
    4               THE INTERPRETER: (Comment in
    5    Hebrew.)
    6               MR. BARET: "Neil."
    7               THE INTERPRETER: "Neil." "Neil."
    8               MR. BEHRE: Oh. I'm sorry. I
    9    thought it was "me."
   10               THE INTERPRETER: Sorry. "Neil."
   11               MR. BARET: No. "Neil."
   12               MR. BEHRE: "Neil."
   13               THE INTERPRETER: No. "Neil."
   14    BY MR. BEHRE:
   15         Q.    Okay. So Neil Gerard ran the
   16    meeting?
   17               Apologies.
   18         A.    "Kin."
   19         Q.    And how many -- where did the
   20    meeting occur?
   21         A.    In a conference room of this
   22    type in one of the hotels there. But
   23    I do not -- don't recall specifically
   24    which.
   25         Q.    How long did the meeting last?

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    1         A.    I estimate about two hours.
    2         Q.    Did you stay -- did anybody
    3    stay overnight?
    4         A.    Not that I know of.
    5         Q.    What did Neil Gerard say the
    6    purpose of the meeting was?
    7         A.    The -- the purpose was the --
    8    the coordination of the management of
    9    this case generally. And one of the
   10    specific subjects was the preparation
   11    by Stuart for his testimony in the
   12    trial.
   13         Q.    And by the "management of
   14    this case generally," you're referring
   15    to the lawsuit involving Farhad Azima
   16    and Rakia?
   17         A.    One of the subjects was that.
   18         Q.    You also attended a meeting in
   19    Switzerland; correct?
   20         A.    Yes.
   21         Q.    Do you recall when that was?
   22         A.    I believe it was the end of 2019.
   23         Q.    Was it in December 2019?
   24         A.    I believe so.
   25         Q.    Was it at the Hotel Moosegg?

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    1         A.    Yes.
    2         Q.    And who was responsible for
    3    booking that hotel and for security
    4    arrangements for all the parties to
    5    get there?
    6         A.    Stuart had asked me to organize
    7    a meeting under the seal of secrecy that
    8    would be secured and secluded.
    9               At first I suggested to him
   10    to hold it in Israel because, in Israel,
   11    it's the easiest for me to arrange the
   12    security. Then he asked it to be in
   13    Switzerland. So I'm the one who reserved
   14    the hotel. I also booked security personnel,
   15    cars, vehicles that would drive the people,
   16    and all that on Stuart's request.
   17         Q.    And were all those expenses
   18    billed through and paid from Page to
   19    SDC-Gadot?
   20         A.    I assume so. Yes.
   21         Q.    How long did that meeting at
   22    the Swiss hotel last?
   23         A.    Two or three days.
   24         Q.    And you rented out the entire
   25    hotel for those two or three days; right?

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    1         A.    It was a hotel that was not
    2    active during the week. It was only
    3    active on weekends. So there -- that
    4    is why it was convenient to -- to book
    5    it for our purpose. And it was easy
    6    to -- to arrange the security arrangements.
    7         Q.    And during your stay there, you
    8    had a private chef and a private wine cellar
    9    to use; right?
   10         A.     I -- I believe it is a slightly
   11    exaggerated or overrated description.
   12               Someone was cooking for us. And
   13    I personally don't consume alcohol at all,
   14    whatsoever. But with the meals, there was
   15    also alcohol served.
   16         Q.    Well, Mr. Gerard likes his wine;
   17    right?
   18         A.    Mr. Stuart likes the honey that
   19    he took from the hotel. Each one has his
   20    own likings.
   21         Q.    What was the purpose of the
   22    meeting?
   23         A.    As far as I'm concerned, the
   24    purpose was another coordination meeting
   25    in the management of this case.

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    1               The atmosphere in the meeting
    2    was, of course, more homely [sic], more
    3    pleasant. And he asked the people who
    4    had submitted affidavits to do some sort
    5    of rehearsal for the trial.
    6               As I personally was no party
    7    to this trial, in the parts that related
    8    specifically to the trial, I practically
    9    did not participate.
   10         Q.    And the rehearsal of -- the
   11    rehearsal of the trial testimony concerned
   12    Mr. Page and Mr. Halabi; correct?
   13         A.    Yes. Correct.
   14         Q.    And Mr. Gerard too, because
   15    he was going to testify at the trial;
   16    right?
   17         A.    I would assume so. I'm not
   18    really very well-versed in, you know,
   19    what was -- had to do with the running
   20    of the trial. I wasn't a party to it --
   21    to that case.
   22               So -- but yes, I would assume
   23    that Gerard also was to give testimony
   24    at that trial.
   25         Q.    And you instructed everybody

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    1    that attended the meeting to leave their
    2    phone home or to turn it off when they
    3    were at the location so their location
    4    device on the phone would not work; right?
    5         A.    No. I had my phone. Majdi had
    6    his phone. The -- the security team had
    7    theirs. Nobody gave those instructions.
    8         Q.    (Not translated.) So what was
    9    the purpose of the -- of a security team?
   10         A.    At that stage, so the -- at that
   11    time, the boss was extremely concerned that
   12    somebody was trying to topple him or that
   13    he was going to be toppled. And he asked
   14    Stuart -- because I got my instruction from
   15    Stuart. He asked Stuart -- he insisted that
   16    there be the most stringent security measures
   17    possible taken.
   18         Q.    But as I understand what you're
   19    saying, there were bodyguards who you hired
   20    to guard the hotel.
   21               Am I right?
   22         A.    Yes. The -- the -- the bodyguards'
   23    job was to stand outside and to keep a lookout
   24    to see if there were any surveillance teams
   25    surveilling the hotel. They -- they didn't

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    1    personally guard people inside.
    2         Q.     Okay.
    3         A.     And -- and some of the time, I
    4    actually let them go eat and I took over
    5    for them.
    6         Q.     Were you present when Mr. Halabi
    7    was rehearsing his testimony?
    8         A.     I don't recall. It's possible
    9    for part of the time. But I -- I don't
   10    recall specifically.
   11         Q.     You're the one that asked Halabi
   12    to be involved in the case; isn't it true?
   13         A.     Halabi was involved in this case
   14    long before 2018 or '19 or whenever it was.
   15    Halabi, in fact, covered very large parts
   16    of areas in the Gulf and Saudi Arabia.
   17    And he was well-versed in the details of
   18    the case.
   19                It might have been me or perhaps
   20    it was him who suggested this minor detail
   21    that the leaked information was on the
   22    Internet.
   23         Q.     And you say that's a minor detail.
   24                But that was a big issue in the
   25    case, wasn't it?

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    1         A.    I'm not a legal expert. And I
    2    didn't follow all the details of the case,
    3    because that's not my job. I consider it
    4    a minor detail.
    5         Q.    Well, you're aware, aren't you,
    6    that by the time that meeting was held
    7    in Switzerland, Farhad Azima had already
    8    sued Rakia, the boss, for hacking him in
    9    the United States; right?
   10         A.    I don't -- I have no information
   11    regarding who hacked into Farhad Azima's
   12    computers. But I do know that, in wake
   13    of the trial in the U.K., it was decided
   14    that the boss -- he was right, that he --
   15    yeah, that he was right.
   16         Q.    The boss was right about what?
   17         A.    He won the trial in England,
   18    his suit against Farhad Azima.
   19         Q.    But you're aware now that two
   20    of the witnesses who testified at the
   21    trial admitted they committed perjury
   22    and that the plot to commit that perjury
   23    occurred at that Swiss hotel that you
   24    set up?
   25               Are you aware of that?

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    1         A.    I was not part of the trial.
    2    I was asked -- I was asked to organize
    3    the meeting and be in charge of security.
    4    And I understand that there's a trial now
    5    regarding the liability of the person who
    6    did what he said he did.
    7         Q.    But you're aware that two of the
    8    people that attended that meeting, under
    9    high security in Switzerland, Mr. Page and
   10    Mr. Halabi, have now confessed to committing
   11    perjury and have said they learned their
   12    perjury in Switzerland and the headmaster
   13    of that perjury school was Neil Gerard?
   14               That's what they both say; right?
   15         A.    I cannot relate to the content
   16    of the conversations between Neil Gerard,
   17    Stuart Page, and Majdi Halabi, because
   18    I was not a part of those conversations.
   19               What I can say -- what I can
   20    say is that, upon reading the new affidavits
   21    from Majdi Halabi and Stuart Page, I identify
   22    certain statements that are not true.
   23         Q.    And you're aware that Stuart Page
   24    specifically says he hired you to hack; right?
   25               That's what he says.

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    1         A.     And that's one of the parts that
    2    are lies.
    3                (Exhibit 4 marked.)
    4    BY MR. BEHRE:
    5         Q.     I'd like to next show you what
    6    we've marked as Exhibit No. 4. It's the
    7    Citibank bank statements --
    8         A.     (Comment in Hebrew.)
    9         Q.     -- the first one being an account
   10    statement for October 2017, the last statement
   11    being an account statement for June 2021.
   12                And they have a Bates number, so
   13    a number at the bottom right-hand corner,
   14    that starts with the last five digits 00044
   15    through 00147.
   16         A.     Okay. (Examining.)
   17                MR. BEHRE: And apologies if my
   18    sentences are too long.
   19                THE INTERPRETER: No, it's fine.
   20    I have it --
   21                MR. BEHRE: You should --
   22                THE INTERPRETER: -- in front --
   23                MR. BEHRE: -- both feel free --
   24                THE INTERPRETER: -- of me.
   25                MR. BEHRE: -- to stop me.

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    1               THE INTERPRETER: It's -- no, you're
    2    fine.
    3               MR. BEHRE: Okay.
    4               THE INTERPRETER: You can go on as
    5    long as you like. We have it right in front
    6    of us. So --
    7               MR. BEHRE: Okay.
    8               THE INTERPRETER: -- we have the
    9    true notes, the realtime, or whatever it's
   10    called.
   11    BY MR. BEHRE:
   12          Q.   (Not translated.) Are -- and --
   13    and I -- I don't know if I said the obvious.
   14               But these are SDC-Gadot LLC's
   15    bank records; correct?
   16          A.   I thank you, first of all, for
   17    bringing it to me, because I didn't have
   18    it.
   19               (Pending question translated.)
   20               THE WITNESS: Yes, yes. That's
   21    correct.
   22    BY MR. BEHRE:
   23          Q.   And it appears that the account
   24    was opened, from the first page that's
   25    Bates number 44, on October 30th, 2017,

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    1    with a deposit of a thousand dollars;
    2    right?
    3         A.    Yes. That's at the opening
    4    of the account.
    5         Q.    And you testified earlier
    6    that you opened this account in person
    7    in Florida; correct?
    8         A.    Yes.
    9         Q.    And when you opened the account,
   10    what did you represent to Citibank the
   11    business of SDC-Gadot was?
   12         A.    I do not recall.
   13         Q.    Did you fill out an application
   14    form that you recall?
   15         A.    I assume that I did. But I do
   16    not recall.
   17         Q.    I'd like to turn your attention
   18    to page 48. And, again, the numbers are
   19    in the lower right-hand corner. It's the
   20    bank statement for the period of December
   21    1st through December 31st, 2017.
   22               It should be five pages in.
   23         A.    (Comment in Hebrew.)
   24               (In English.) Yes.
   25               (Translated.) Okay. Yes.

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    1         Q.    And you see on December 20th,
    2    2017, a credit for $5,000, which was a
    3    wire from Insight Analysis and Research;
    4    right?
    5         A.    Yes.
    6         Q.    And then two pages later, on
    7    page 50, there's $45,000 wired again by
    8    Insight Analysis.
    9               Do you see that?
   10         A.    (In English.) Yes.
   11               (Translated.) Yes.
   12         Q.    And Insight Analysis is your
   13    other Florida-based LLC; correct?
   14         A.    Yes.
   15         Q.    (Not translated.) And now going
   16    to page 52, which is the statement for
   17    February 2018, you'll see another deposit,
   18    this time for $111,950. And it's a wire
   19    from Page Group ME.
   20               Do you see that?
   21         A.    "Kin."
   22               (In English.) Yes.
   23         Q.    And that's a payment from Mr. Page,
   24    who hired you for Project Beech; correct?
   25         A.    (Translated.) Yes.

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    1               (In English.) I suppose so.
    2               (Translated.) I suppose so. But
    3    I'm not -- I'm not sure. Because there were
    4    other projects. Mr. Page paid me for other
    5    projects other than Beech. So I'd have to
    6    check to make sure.
    7         Q.    And your invoices would indicate
    8    if it was Project Beech; correct?
    9         A.    (In English.) Yes.
   10               (Translated.) Yes.
   11         Q.    And you indicated you reviewed
   12    some invoices to prepare for your testimony
   13    today.
   14               Did those invoices say "Project
   15    Beech" on them?
   16         A.    Yes. But I don't have them here.
   17    I can bring them tomorrow.
   18         Q.    (Translated.) Okay. Would you
   19    do that, please?
   20               (Not translated.) And if you
   21    look on the same page, that's page 52,
   22    on February 6 and February 13, just about
   23    a week apart, there were two transfers,
   24    one for 49,000 and one for 50,000, to
   25    Fusion GPS.

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    1               Do you see that?
    2         A.    "Kin."
    3               (In English.) Yes.
    4               (Last question partially
    5         translated.)
    6               THE INTERPRETER: "Yes."
    7    BY MR. BEHRE:
    8         Q.    And Fusion GPS is an
    9    investigative firm; is that correct?
   10         A.    Yes. But there's no connection
   11    whatsoever to Stuart Page or Project Beech.
   12         Q.    And Fusion GPS was a subcontractor
   13    to SDC-Gadot; correct?
   14         A.    No. They did not do any work for
   15    SDC-Gadot. But they -- they received payment
   16    for something else.
   17         Q.    (Partially translated.) Well, SD --
   18    let me -- let me rephrase it.
   19               SDC-Gadot paid Fusion GPS $99,000
   20    in February of 2018; right?
   21               THE INTERPRETER: 2018? 2018.
   22               MR. BEHRE: Yes.
   23               (Remainder of pending question
   24         translated.)
   25               THE WITNESS: Yes.

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    1    BY MR. BEHRE:
    2         Q.    And what were they paid for?
    3         A.    I don't recall what the payment
    4    was for. But I can say that Fusion GPS
    5    had no connection to Stuart Page or
    6    Project Beech.
    7         Q.    But if you can't recall what
    8    it was for, how could you be sure?
    9         A.    Because I know that Fusion had
   10    nothing to do with this case.
   11         Q.    If you turn the page, on page 53,
   12    you'll see that Fusion gets another 50,000
   13    on February 15, another 50,000 on February
   14    20, and another 50,000 on February 27.
   15               Do you see that?
   16         A.    Yes.
   17         Q.    And so --
   18         A.    Same answer.
   19         Q.    So for the month of February,
   20    Fusion GPS was paid 250 --
   21               (Brief telephone interruption.)
   22    BY MR. BEHRE:
   23         Q.    -- $250,000 by SDC-Gadot; right?
   24         A.    That's correct.
   25         Q.    And did the payments to Fusion

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    1    GPS relate to anything you were doing
    2    for Stuart Page?
    3         A.    Under no circumstances. Not
    4    at all.
    5         Q.    Well, earlier today you said
    6    this account was opened simply because
    7    Stuart Page had trouble transmitting
    8    funds to you; right?
    9         A.    That's correct.
   10         Q.    (Partially translated.) And
   11    the other entry on page 53 is a $275,000
   12    credit, a wire from Insight, your other
   13    Florida entity, to this Gadot account;
   14    right?
   15               THE INTERPRETER: Two hundred
   16    and seventy-five, you said; right?
   17               MR. BEHRE: Yes.
   18               (Remainder of pending question
   19         translated.)
   20               THE WITNESS: Yes. That's
   21    correct.
   22    BY MR. BEHRE:
   23         Q.    (Partially translated.) There's
   24    a $47,000 payment on February 22nd, a wire
   25    to an Olam Hamachshevim.

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    1               Who is that?
    2               THE INTERPRETER: Did I get that
    3    right, Olam Hamachshevim?
    4               THE WITNESS: "Kin." Olam
    5    Hamachshevim.
    6               (Remainder of pending question
    7         translated.)
    8               THE WITNESS: (Translated.) It's
    9    a vendor who supplied me with equipment.
   10    Again, it has nothing to do with --
   11               (In English.) Stuart Page.
   12               (Translated.) -- Stuart Page.
   13    BY MR. BEHRE:
   14         Q.    So it's your testimony that Olam
   15    [sic] sold you equipment?
   16         A.    Yeah. It's a computer store, Olam
   17    Hamachshevim.
   18               THE INTERPRETER: That -- interpreter's
   19    note. That means "computer world" in -- in
   20    Hebrew.
   21               "So yeah, I -- I guess it must
   22    have been for equipment."
   23    BY MR. BEHRE:
   24         Q.    (Partially translated.) And your
   25    contact point at Fusion GPS was Glenn Simpson;

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    1    right?
    2               THE INTERPRETER: What was his name
    3    again?
    4               THE COURT REPORTER: Glenn. Glenn.
    5               THE WITNESS: Glenn.
    6               MR. BEHRE: Glenn Simpson.
    7               (Remainder of pending question
    8         translated.)
    9               THE WITNESS: Not only. But yes,
   10    him too.
   11    BY MR. BEHRE:
   12         Q.    And the other one was Peter French;
   13    right?
   14         A.    Yes. Peter French too.
   15         Q.    (Not translated.) Directing
   16    your attention to 54. That's the SDC-Gadot
   17    statement for March 2018.
   18               There is a -- there's a wire on
   19    March 1st for $30,000 to Aviram Hawk, which
   20    is Aviram Azari's company; correct?
   21               THE INTERPRETER: Whose company?
   22               THE COURT REPORTER: Aviram's.
   23               MR. BEHRE: Aviram Azari.
   24               THE INTERPRETER: Azari.
   25               (Pending question translated.)

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    1               THE WITNESS: Yes. That's
    2    correct.
    3    BY MR. BEHRE:
    4         Q.    And Mr. Azari recently pled
    5    guilty in Federal Court in New York to
    6    hacking, didn't he?
    7         A.    Yes. He confessed to seven
    8    separate incidents of computer hacking
    9    in New York.
   10         Q.    And the document in which he
   11    pled guilty references an Israeli company.
   12    But they don't name that company.
   13               Was that company yours?
   14         A.    No.
   15         Q.    How do you know that?
   16         A.    Because I've never commissioned
   17    hacking and have never paid for hacking.
   18         Q.    You're aware that Mr. Azari is
   19    cooperating with Federal law enforcement
   20    officials in the U.S.; correct?
   21         A.    I wish him all the best.
   22         Q.    Have you been contacted by those
   23    prosecutors about this case?
   24               MR. BARET: It's not related to
   25    SDC-Gadot. You don't have to answer that.

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    1               THE WITNESS: This has nothing
    2    to do with this case or with Stuart.
    3    BY MR. BEHRE:
    4         Q.    Well, I beg to differ.
    5               The SDC-Gadot bank statement,
    6    which is directly related to this case,
    7    has a wire out to a man who's confessed
    8    to and now convicted of hacking. This
    9    case is all about hacking. And I'm asking
   10    the witness about his relationship with
   11    the hacker.
   12               MR. BARET: You can ask about
   13    the transaction, why it was paid. And he
   14    can confess to a -- confess to a murder.
   15    I mean, it doesn't mean that it's got
   16    anything to do with SDC-Gadot.
   17               MR. BEHRE: I am entitled to
   18    explore it. If you want to instruct him
   19    not to answer, then we'll have to just
   20    raise this issue too. It's up to you.
   21               MR. BARET: I mean --
   22               THE WITNESS: I -- I have answered
   23    that this has nothing to do with this case.
   24    And Aviram Azari did other jobs, other than
   25    hacking, that he was paid for.

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    1               "Rega."
    2               THE INTERPRETER: No.
    3               THE WITNESS: The prosecutors,
    4    in the case of Aviram Azari, have never
    5    contacted me or asked me for any information.
    6    BY MR. BEHRE:
    7         Q.    What work did Azari do for you,
    8    if it wasn't hacking?
    9         A.    For me he never did any work.
   10         Q.    Yet he was paid $55,000 on March
   11    1st and March 12, 2018.
   12         A.    He did work for Gadot. And
   13    that work included economic investigations
   14    or financial investigations.
   15         Q.    And by --
   16               THE INTERPRETER: "Financial
   17    investigations" or "economic."
   18    BY MR. BEHRE:
   19         Q.    And by "financial investigations,"
   20    does that mean obtaining confidential
   21    banking and financial records about
   22    individuals who were being investigated?
   23         A.    The investigations that Azari
   24    did for me had nothing to do with Project
   25    Beech or anything to do with Stuart at all.

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    1    And I asked him that any investigations he
    2    did to me -- for me be done in accordance
    3    with the law.
    4         Q.     Why did you find it necessary to
    5    tell him to act lawfully?
    6         A.     I say that to every one of my
    7    subcontractors.
    8         Q.     If you look on the same page,
    9    that's page 54, there are two entries on
   10    March 15th, 2018, where you received wires.
   11    And one of them -- the first one is from
   12    Florida AP [sic] Telecom, Inc.
   13                Do you see that?
   14                It's $100,000 that came in from
   15    a Florida entity; correct?
   16         A.     This is -- this is a -- a different
   17    customer. It has nothing to do with Page
   18    or any of this case.
   19                And I can add that the investigation,
   20    in this particular instance, was in South
   21    America and has nothing to do with what's
   22    going on.
   23         Q.     In your affidavit that you
   24    submitted in this case in Florida, you
   25    indicated that you didn't transact business

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    1    in Florida. And yet we have a transaction
    2    where you received $100,000 from a Florida
    3    company.
    4               What business did you transact
    5    with this Florida company?
    6         A.    I did not transact any business
    7    in Florida, as I said earlier. And this
    8    payment is for work that was done in South
    9    America.
   10         Q.    With a Florida company; right?
   11         A.    The payment, as I see here,
   12    came from Florida. But again -- once
   13    again, this has nothing whatsoever to
   14    do with Stuart Page or Project Beech.
   15         Q.    And if you go to the next page,
   16    page 55, here's another wire from Florida
   17    IP Telecom on March 16th for $200,000.
   18               Do you see that?
   19         A.    Yes.
   20         Q.    (Partially translated.) And
   21    Florida IP Telecom is owned by Fernando
   22    Alonzo Paredes; right?
   23               THE INTERPRETER: Could you
   24    repeat the name? Fernando?
   25               MR. BEHRE: Fernando Alonzo

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    1    Paredes, P-a-r-e-d-e-s.
    2               (Remainder of pending question
    3         translated.)
    4               THE WITNESS: That may be
    5    correct.
    6    BY MR. BEHRE:
    7         Q.    (Partially translated.) And
    8    he also owns a company called Overseas
    9    Consulting Limited, LLP, another Florida
   10    company; correct?
   11               THE INTERPRETER: Could you
   12    repeat the name of the company?
   13               MR. BEHRE: Overseas Consulting
   14    Limited, LLP.
   15               (Remainder of pending question
   16         translated.)
   17               THE WITNESS: I have no idea.
   18    I don't know the person. I have no way
   19    of confirming or denying that.
   20    BY MR. BEHRE:
   21         Q.    Well, if you look on March 23rd,
   22    on page 55, you received $350,000 from
   23    Overseas Consulting Limited, LLP; correct?
   24         A.    There's no connection whatsoever
   25    between these wires and Stuart Page. And

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    1    I -- I can't answer beyond saying that
    2    this has nothing to do with Project Beech,
    3    Farhad Azima, or Stuart Page.
    4         Q.    So in the month of March 2018,
    5    you received $650,000 from Florida
    6    companies; correct?
    7         A.    This work was not executed
    8    in Florida. The customer is not a U.S.
    9    citizen. And apparently part of the
   10    payment for this work was transferred
   11    through an American -- through American
   12    companies.
   13         Q.    But are you aware that Overseas
   14    Consulting Limited, LLP, is a Florida
   15    corporation?
   16         A.    It's not something I checked
   17    then. I believe you.
   18         Q.    And then on that same page,
   19    page 55, on March 19th and March 20th,
   20    there are wires out to Gadot Information
   21    Services, which, as I understand it, is
   22    the Gadot entity here in Israel; correct?
   23         A.    Correct.
   24         Q.    And does it sound about right
   25    that, between March 2018 and February 20 --

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    1    2021, in this bank account alone, you
    2    transferred from the Citibank account
    3    for Gadot SDC more than 2.5 million to
    4    Gadot Information Services here in Israel?
    5         A.    I didn't add it up. But that
    6    sounds about right.
    7         Q.    And would it surprise you if
    8    I said that the payments to Fusion GPS,
    9    between just February 2018 and July 2018,
   10    total more than $1.2 million?
   11         A.    I do not understand the connection
   12    between Page, the Beech Project, Azima,
   13    and Fusion.
   14         Q.    (Not translated.) I'm just
   15    asking you: Does it surprise you that,
   16    from February 2018 through July 2018,
   17    there were payments from the SDC-Gadot
   18    Citibank account with a Miami, Florida
   19    address to Fusion, exceeding $1.2 million?
   20         A.    My answer is that I'm not surprised.
   21         Q.    Okay. What is BM -- BMI Analysis
   22    Limited?
   23         A.    I don't remember. It could be
   24    one of the vendors or one of the customers.
   25               Is it someone on the receiving

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    1    end? On the paying end?
    2               (Comment in Hebrew.)
    3         Q.    If you look at March 30th.
    4         A.    I'm looking for it.
    5         Q.    March 30th.
    6         A.    (In English.) CBOL to BMI. Aah.
    7               (Translated.) I paid. So I guess
    8    it's one of our vendors.
    9         Q.    And it's true, isn't it, that BMI
   10    Analysis Limited was also working on Project
   11    Beech?
   12         A.    I do not recall.
   13         Q.    Okay. Now let's go to April
   14    2018, page number 56.
   15         A.    Going backwards?
   16         Q.    And you'll see that there are
   17    five payments for $50,000 each to Fusion.
   18    And there are several wires out to Gadot
   19    Information Services for $50,000.
   20               Why --
   21         A.    Citibank restricted the amounts
   22    of the transfers I could make to $50,000
   23    each. And that is why we divided payments
   24    into several $50,000 payments.
   25         Q.    And why did Citibank impose that

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    1    restriction?
    2         A.    You have to ask them.
    3         Q.    Did it -- was it always that way?
    4    Or did they restrict you after you opened
    5    the account?
    6         A.    No. It was from the start.
    7         Q.    And in April of 2018, there were
    8    several more wires out from SDC-Gadot to
    9    Gadot Information Services here in Israel;
   10    right?
   11         A.    Correct.
   12         Q.    (Partially translated.) Throughout
   13    these bank records, there are debit card
   14    purchases for iPostal1.
   15               What are those?
   16               THE INTERPRETER: What's the name
   17    again?
   18               MR. BEHRE: IPostal1.
   19               (Remainder of pending question
   20         translated.)
   21               THE WITNESS: (Comment in Hebrew.)
   22               (In English.) Which date?
   23               (Translated.) Which -- which line?
   24    Which date?
   25    //

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    1    BY MR. BEHRE:
    2         Q.     It is March 17th -- April. I'm
    3    sorry.
    4         A.     (Comment in Hebrew.)
    5                THE INTERPRETER: "Kin."
    6                MR. BARET: April 20th.
    7    BY MR. BEHRE:
    8         Q.     And April 20th too. And April
    9    24th too.
   10                MR. BARET: It's like $10. 9.99.
   11                You see it?
   12                THE WITNESS: (In English.) It
   13    might be Apple Music or whatever, I think.
   14                (Comment in Hebrew.)
   15    BY MR. BEHRE:
   16         Q.     Well, could it be --
   17                THE INTERPRETER: "I don't remember."
   18    BY MR. BEHRE:
   19         Q.     (Not translated.) Could it be an
   20    electronic mailbox where you kept messages?
   21         A.     (In English.) No.
   22                (Translated.) First of all, you
   23    don't pay for electronic mail. But I don't
   24    remember.
   25         Q.     Okay. Let's go to pages 60, 61,

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    1    62. That's for May 2018.
    2         A.    Yes.
    3         Q.    And you'll see more wires to BMI
    4    Analysis Limited.
    5               Do you see that on May 1?
    6         A.    (In English.) Okay.
    7               (Translated.) Okay.
    8         Q.    And there are numerous wires
    9    out to your Gadot entity here in Israel,
   10    starting on May the 2nd.
   11               Do you see that?
   12         A.    Yes.
   13         Q.    (Partially translated.) And
   14    you'll see, on May 21st, Page Group ME
   15    sends you $187,000 -- 187,450?
   16               THE INTERPRETER: 180,000?
   17               THE WITNESS: Yes. But I do
   18    not know if this is on account of the
   19    Beech Project or other projects.
   20    BY MR. BEHRE:
   21         Q.    And would the invoices tell
   22    you whether it's Project Beech?
   23         A.    I assume so. Yes.
   24         Q.    And do you have that invoice?
   25         A.    As I said before, I will bring

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    1    them tomorrow.
    2         Q.     Because you would need to retain
    3    those invoices for your tax purposes; right?
    4         A.     The invoices in Israel, I do
    5    have to preserve them. The invoices for
    6    the United States, I have to preserve them
    7    only for two years.
    8         Q.     And, finally, on page 62, you'll
    9    see there are three more wires to Fusion
   10    GPS, 50,000 each time, three.
   11                So $150,000 between May 29th
   12    and May 31st; right?
   13         A.     Yes. Correct.
   14         Q.     Moving to June 2018, pages 64
   15    and 65, two large wires coming in from
   16    Florida companies, one on June 14th
   17    for $100,000 and one on June 15th for
   18    $350,000.
   19                Do you see those entries?
   20         A.     Yes, I see.
   21         Q.     And then, on the next page,
   22    page 65, four more payments to Fusion
   23    GPS, 50,000 each, plus the one on the
   24    prior page on June the 5th, totaling
   25    $250,000 wired to Fusion GPS in June

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    1    of 2018; correct?
    2         A.    Yes.
    3         Q.    Going to July 2018, pages 66,
    4    67, 68, you'll see numerous wires out
    5    to Gadot Information Services. I haven't
    6    totaled them all up. But it looks to be
    7    five, six, or seven of those.
    8               Do you see those, starting on
    9    May -- on July 9? I'm sorry. Starting
   10    on July 2nd?
   11         A.    Yes, I see.
   12         Q.    And so that's in July 2018 alone,
   13    almost a half a million dollars wired out
   14    of the SDC -- SDC-Gadot account to --
   15               THE INTERPRETER: Sorry.
   16    BY MR. BEHRE:
   17         Q.    So my question is: You went
   18    through all this trouble to open the
   19    SDC-Gadot LLC account with Citibank.
   20    And yet you appear to be moving money
   21    just about as fast as you get it out
   22    to the Israeli entity.
   23               Why?
   24         A.    Most of the work was carried
   25    out by Gadot Israel. And as I explained

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    1    before, these accounts in the United
    2    States were opened merely for convenience's
    3    sake, which proved itself over time.
    4                As I can see now, in July, there's
    5    a lot of activity that is not connected to
    6    Page at all, to Stuart Page.
    7         Q.     Let's look at August, then.
    8                Let's go to page 70 and 71.
    9                On August 8, Stuart Page wires
   10    you $276,950; right?
   11         A.     Yes. I do see it.
   12         Q.     And that month, there were nine
   13    wires out to Gadot.
   14         A.     As I explained before, the bank
   15    restricted us to $50,000 transfers. That
   16    accounts for the numerous transfers. If
   17    we could make a bigger transfer, we would
   18    have been -- we would have made it a larger
   19    transfer.
   20         Q.     So looking at the second entry,
   21    on August 1st, 2018, it says:
   22                "Wire to SDC-Gadot."
   23                "$50,000."
   24                Did SDC-Gadot LLC have another
   25    account besides Citibank?

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    1         A.    As I've explained before, we had
    2    tried to open an account in Chase Manhattan.
    3    We opened actually. We didn't try. We
    4    opened. And I'm guessing that this transfer
    5    was in that direction. But -- and I don't
    6    even recall why we hardly used that account
    7    at all.
    8         Q.    And if you look at the wires on
    9    August 2nd, August 8, August 9, August 13,
   10    again on August 13, August 20, August 21,
   11    August 22, they all go to SDC-Gadot.
   12         A.    I can only say, again, ask for
   13    a subpoena to Chase Manhattan. And we'll
   14    be able to see what happened there.
   15         Q.    Is the Chase Manhattan account
   16    still open?
   17         A.    No.
   18               And I do not have the capacity
   19    to see things myself because it is no
   20    longer open.
   21         Q.    When was that account closed?
   22         A.    Quite quickly -- quite quickly,
   23    I believe. I do not recall exactly. But
   24    I'm going to consult, of course, with --
   25    with my attorney. But I believe I can

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    1    give you permission to go into there and
    2    check the account.
    3         Q.    And is the reason why, in this
    4    particular month, you attempted to move --
    5    make nine wires to the Chase Manhattan
    6    account, is the reason because Citibank
    7    had been starting to give you difficulties
    8    regarding your account there with Citibank?
    9         A.    Citibank had never caused any
   10    difficulty to me in my account, with the
   11    exception of that restriction to transfers
   12    of $50,000. And that is why I, in fact,
   13    opened the account in Chase Manhattan,
   14    because this was a way of trying to
   15    circumvent that restriction of $50,000
   16    that -- whose result was that we had
   17    to make many transfers.
   18         Q.    Isn't it true that Citibank
   19    expressed money-laundering concerns to
   20    you about this account?
   21         A.    No. Not in my ears.
   22               THE COURT REPORTER: "Years"
   23    or "ears"?
   24               THE INTERPRETER: "Ears."
   25    "Ears." "In my ears." "Not in my ears."

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    1    BY MR. BEHRE:
    2         Q.     Moving to November 2018, that's
    3    pages 76 and 77, I direct your attention
    4    to the wire on November 20th from Page
    5    Group ME.
    6                THE COURT REPORTER: From who?
    7    From who?
    8                MR. BEHRE: Page Group ME.
    9                THE WITNESS: Yes. But I still
   10    do not know if that transfer was connected
   11    to Project Beech or to other projects.
   12    BY MR. BEHRE:
   13         Q.     But the invoice would indicate
   14    whether it was Project Beech; correct?
   15         A.     Yes. And I will bring them
   16    tomorrow.
   17         Q.     And since this payment in
   18    November was presumably for an invoice
   19    in October and because, in October, you
   20    attended a Cyprus meeting, some of those
   21    monies at least must have been related
   22    to Project Beech; right?
   23         A.     For the Beech product -- Project,
   24    we had a monthly retainer. So each month
   25    we received a payment. And I cannot say

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    1    if this payment was specifically for the
    2    meeting in Cyprus or not.
    3         Q.    But you didn't -- you didn't
    4    go to Cyprus for free; right?
    5         A.    No.
    6         Q.    Somebody paid for it; right?
    7         A.    You are not here for free either.
    8         Q.    No.
    9         A.    (Comment in Hebrew.)
   10               MR. BARET: It's not pro bono?
   11               THE INTERPRETER: "Me neither."
   12               THE COURT REPORTER: Pardon?
   13               MR. BARET: No? I was shocked.
   14    I'm the only one who's not getting paid
   15    here?
   16               THE WITNESS: (Comment in
   17    Hebrew.)
   18               THE INTERPRETER: I hope so.
   19    BY MR. BEHRE:
   20         Q.    All right. Directing your
   21    attention to December 2018, page 79,
   22    on December 10th, you wired $25,000
   23    to Dinka Analysis Services.
   24               And Dinka is owned by Raphael
   25    Pridan; correct?

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    1           A.   Correct.
    2           Q.   And Stuart Page has done
    3    business with Dinka previously; correct?
    4           A.   Stuart Page had done business
    5    with Rafi Pridan previously. But I do
    6    not know which entity of Rafi Pridan
    7    was used.
    8           Q.   And Dinka was doing work for
    9    Project Beech; correct?
   10           A.   I do not remember. Could be
   11    yes. Could be no.
   12           Q.   (Not translated.) Okay. And
   13    what about Ezekiel Golan Intellectual Pro,
   14    there are several wires to that entity on
   15    December 12th and 13th totaling $65,000.
   16                THE COURT REPORTER: She's going
   17    to need the name again.
   18                THE WITNESS: (In English.) Ezekiel
   19    Golan.
   20                MR. BEHRE: Ezekiel Golan Intellectual
   21    Pro.
   22                (Pending question translated.)
   23                THE WITNESS: (Translated.) Heskel
   24    [sic] Golan is not connected in --
   25                (In English.) "Ezekiel."

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    1               (Translated.) Ezekiel Golan
    2    is not connected in any way whatsoever
    3    to Stuart Page or to the Beech Project.
    4    BY MR. BEHRE:
    5         Q.    What services did Ezekiel Golan
    6    Intellectual provide?
    7         A.    I am prevented from answering
    8    that. This is not connected. And it is
    9    under privilege.
   10         Q.    (Not translated.) Under privilege
   11    because you were acting under the -- at
   12    the direction of a lawyer?
   13         A.    No. Because of my agreement
   14    with Ezekiel Golan that commands a privilege.
   15         Q.    Well, I don't think that's a valid
   16    basis not to answer.
   17         A.    I can -- I can tell you that it's
   18    connected to some medical development, not
   19    connected at all to these issues.
   20         Q.    And directing your attention to
   21    February 2019, page 83, there's a wire on
   22    February 19th from Page Group ME.
   23               Do you see that, for $82,455?
   24         A.    Yes. I do see.
   25         Q.    Okay. And that was for Project

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    1    Beech?
    2         A.     I cannot know now. I will know
    3    tomorrow.
    4         Q.     Okay. Same question. On March
    5    20th, 2019, on page 84, you received a
    6    wire from Page Group ME for $99,950.
    7                Do you see that?
    8         A.     Yes. The same answer.
    9         Q.     And then on April 10th, as
   10    reflected on page 86, another wire in
   11    from Page Group ME for $99,950.
   12                Do you see that?
   13         A.     Yes, I see.
   14         Q.     And then just eight days later,
   15    Page Group ME sends you another hundred --
   16    $131,950 on April 18th.
   17                Do you see that?
   18         A.     Yes.
   19         Q.     And then in May 2019, going to
   20    May the 16th and May 31st, all found on
   21    page 89, you receive two wires again from
   22    Page Group ME, one for $99,950 and the
   23    other one for $249,950.
   24                Do you see that?
   25         A.     Yes.

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    1         Q.    And why all of a sudden are you
    2    going to being paid once a month by Page
    3    to being paid twice a month?
    4         A.    It could be for several projects.
    5    And it could be also reflecting the fact
    6    that he's paying me when he's being paid.
    7         Q.    And that date would line up to
    8    a meeting you had in London about Mr. Halabi's
    9    witness statement for use in the U.K. hacking
   10    case; right?
   11               MR. BARET: What -- what's the date?
   12    What's the date?
   13               THE WITNESS: I don't recall meeting
   14    Majdi Halabi in London.
   15    BY MR. BEHRE:
   16         Q.    (Not translated.) Okay. And then
   17    in June 2019, on page 90, you receive from
   18    Page $200,000 minus a five -- $50 wire fee;
   19    right?
   20               THE INTERPRETER: 200,000, you
   21    said?
   22               MR. BEHRE: Yes.
   23               THE INTERPRETER: Okay.
   24               (Pending question translated.)
   25               THE WITNESS: All the amounts are

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    1    round amounts. But Stuart being somewhat
    2    stingy, he always take the -- round down --
    3    commissions from me.
    4                MR. BARET: The wire fee.
    5                THE INTERPRETER: The wire transfer
    6    commission.
    7                THE WITNESS: (In English.) You
    8    ask.
    9    BY MR. BEHRE:
   10           Q.   And then, in July 2019, there's
   11    a trip to Vegas. You stayed at the --
   12           A.   (In English.) July?
   13           Q.   (Translated.) July 2019 you
   14    went to the Prada store and spent $535.
   15                (Not translated.) You -- the
   16    Montcler store --
   17           A.   (In English.) I bought a belt.
   18           Q.   (Not translated.) -- and spent
   19    2,175.
   20                You won a bet?
   21           A.   (In English.) I -- I bought
   22    a belt --
   23           Q.   (Not translated.) Oh. "Belt."
   24           A.   (In English.) -- in Prada.
   25                I can bring it tomorrow.

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    1         Q.    (Not translated.) Okay. I'll
    2    try it on.
    3         A.    (In English.) Yeah. No. You
    4    are much thinner.
    5         Q.    And you saw the Beetles on Broadway.
    6    And you ate at Joel Robuchon.
    7               Right?
    8         A.    "Kin."
    9         Q.    And then Mr. Page sends you again,
   10    in September 2019, $196,000 minus a $50 wire
   11    fee on September 6th; correct?
   12         A.    Yes.
   13         Q.    (Not translated.) What's Pandaface?
   14               THE INTERPRETER: What's?
   15    BY MR. BEHRE:
   16         Q.    What is Pandaface?
   17         A.    Where is it?
   18         Q.    It's on page 107.
   19               On December 26, you sent Pandaface
   20    $15,000.
   21               THE COURT REPORTER: How much?
   22               THE WITNESS: (Comment in Hebrew.)
   23               THE INTERPRETER: Fifteen.
   24               MR. BEHRE: 15,000. Sorry.
   25               THE WITNESS: (In English.) "Wire

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    1    to Pandaface."
    2               (Translated.) I don't recall.
    3    BY MR. BEHRE:
    4         Q.    (Partially translated.) And then
    5    in January, January 16th, on page 108, you
    6    send Pandaface another $7,500.
    7               Do you see that?
    8               THE INTERPRETER: 175,000?
    9               MR. BARET: 7,500.
   10               MR. BEHRE: 7,500.
   11               (Remainder of pending question
   12         translated.)
   13               THE WITNESS: I -- I don't know.
   14    I think maybe -- maybe I sent someone, a
   15    woman, some financial assistance.
   16    BY MR. BEHRE:
   17         Q.    (Partially translated.) Okay.
   18    And then, on January 27th, on page 108,
   19    Page is sending you wires from a new
   20    entity. It's called Page Risk Management
   21    DMCC.
   22               Do you see that entry on January
   23    27th?
   24         A.    Yes.
   25         Q.    Do you -- do you know why he

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    1    started using a different entity to wire
    2    you those funds that he says were for
    3    hacking?
    4           A.   No. No idea.
    5           Q.   And that's the same entity that
    6    sent you $222,435 on March 23rd on page
    7    112.
    8                Do you see that?
    9           A.   Yes. I see that the commissions
   10    are getting larger.
   11           Q.   And --
   12           A.   Now it's $65 instead of $50.
   13           Q.   Now, a payment in March of 2020
   14    would be for work you did in February.
   15                And February is when Mr. Azima's
   16    trial occurred in the U.K.; correct?
   17           A.   I didn't do anything regarding
   18    the trial in England. And this -- the
   19    money, the payment is for Project Beech,
   20    which continued.
   21           Q.   Were you in London in late February
   22    and early March?
   23           A.   I'd have to check. I don't recall.
   24           Q.   Have you ever been to the Royal
   25    Automotive Club?

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    1         A.    No.
    2               MR. BEHRE: Okay. Why don't we
    3    take a break.
    4               THE VIDEOGRAPHER: Going off the
    5    record at 4:43.
    6               (Recess from 4:43 p.m. to 5:02 p.m.
    7         Israel Daylight Time.)
    8               THE VIDEOGRAPHER: Back on the record
    9    at 5:02.
   10    BY MR. BEHRE:
   11         Q.    Mr. Forlit, we just looked at some
   12    of your Citibank bank records for SDC-Gadot.
   13    And I want to ask you just a big picture.
   14               You received between $200,000
   15    and $300,000 a month almost every month
   16    for almost five years.
   17               What did you do for that money?
   18         A.    In my earlier answers, I more
   19    or less broke down the details of the
   20    investigation, which covered a lot of
   21    jurisdictions.
   22               This whole line of questioning,
   23    there's something unclear to me.
   24               If this whole trial is about
   25    hacking done by -- in 2015 by Azima and

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    1    Stuart, the liar, is saying that I've
    2    been hacking from 2017 until 2020, how --
    3    how does that have anything to do with
    4    hacking that happened in 2015?
    5               (Comment in Hebrew.)
    6               THE INTERPRETER: (Comment in
    7    Hebrew.)
    8    BY MR. BEHRE:
    9         Q.    (Partially translated.) My --
   10    my question was: What did you do to earn
   11    two hundred to $300,000 a month for five
   12    years?
   13         A.    (Comment in Hebrew.)
   14               MR. BARET: Just for the record,
   15    three years. The -- the company opened in
   16    2017 and to -- to 2020; right?
   17               THE WITNESS: So we carried out
   18    investigations. And in the three years
   19    of the company's activities, we investigated
   20    a large number of violations of the sanctions
   21    on Iran, a lot of money-laundering done
   22    through Lebanon --
   23               (Comment in Hebrew.)
   24               THE INTERPRETER: You -- you
   25    mean embezzling? Or money disappearing?

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    1    Misappropriation of funds?
    2               THE WITNESS: And monies that
    3    disappeared from the company in -- in
    4    Saudi Arabia.
    5               We managed to locate Khater
    6    Massaad in Saudi Arabia and the authorities --
    7    and get the authorities to arrest him. We
    8    had a regular source that visited him once
    9    a month in Saudi Arabia.
   10               We investigated financial offenses
   11    in Sri Lanka and in Switzerland.
   12               We investigated transactions in
   13    Georgia.
   14               THE INTERPRETER: Georgia, not
   15    the U.S., the country.
   16               THE WITNESS: And that's just
   17    what I can recall off the top of my head.
   18    BY MR. BEHRE:
   19         Q.    And when you say you investigated
   20    transactions, are you referring to transactions
   21    in bank records?
   22         A.    We got a lot of information that
   23    had its source in the customer's servers,
   24    computer servers. And a lot of the
   25    information Stuart Page brought from his

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    1    own sources. We interviewed a lot of people.
    2    And that wasn't even one of the company's
    3    larger cases.
    4         Q.    When you say the customer's
    5    computer servers, are you talking about
    6    Rakia's computer servers?
    7         A.    Sometimes yes. There was a lot
    8    of data that we got from servers in the
    9    free zone of RAK. And a lot of materials --
   10    yes, the customer gave us a lot of materials.
   11         Q.    And some of those materials
   12    included bank records that were confidential;
   13    correct?
   14         A.    I don't recall.
   15         Q.    To the best of your recollection,
   16    did you ever have access to bank records
   17    for any of the people that were being
   18    investigated or any of the entities
   19    that were being investigated?
   20         A.    I don't recall precisely.
   21    It's possible.
   22         Q.    Do you recall ever attaching
   23    confidential bank records to any of the
   24    reports that you prepared?
   25         A.    I don't recall.

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    1         Q.    And do you recall ever attaching
    2    copies of confidential e-mails, for example,
    3    between Mr. Azima and his lawyers to your
    4    reports?
    5         A.    I don't recall.
    6         Q.    And do you recall ever excerpting
    7    and embedding into your reports confidential
    8    e-mails belonging to others?
    9         A.    I don't recall. And everything
   10    that appears in the reports were materials
   11    that were presented legally.
   12         Q.    And what types of materials did
   13    Mr. Page provide to you, as you indicated
   14    a few moments ago?
   15               MR. BARET: I'm -- I'm sorry.
   16               Just for the -- when -- when
   17    counsel's referring to "you," who are you
   18    referring to? Amit Forlit individually?
   19               MR. BEHRE: Yes. As paid by --
   20    for services by SDC-Gadot.
   21               MR. BARET: Right. But --
   22               THE WITNESS: Amit Forlit did
   23    not receive money from SDC-Gadot. Gadot
   24    Israel received money from SDC. And I
   25    was a representative of SDC-Gadot.

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    1                And Page provided materials.
    2    He had his sources. Maybe some of his
    3    clients and other sources. I don't know.
    4    BY MR. BEHRE:
    5         Q.     What types of materials did
    6    Mr. Page provide?
    7         A.     A list of companies, a list
    8    of contacts of people who were involved,
    9    legal -- legal cases that he -- that were
   10    taken from various places.
   11         Q.     Did he ever provide you with
   12    confidential e-mails or financial data
   13    belonging to others to which he wasn't
   14    entitled to have?
   15         A.     I don't think so.
   16         Q.     Now, regarding Mr. Halabi's
   17    testimony, as rehearsed in Switzerland,
   18    why was it decided that Halabi would
   19    claim to have found the data on the
   20    Internet?
   21         A.     I don't remember who or why it
   22    was decided that Halabi would be the one
   23    to tell this or to -- to relate this.
   24                And to this day, we -- I don't
   25    know who in Halabi's firm found these links.

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    1               (Comment in Hebrew.)
    2               THE INTERPRETER: Oh. "Office."
    3               THE WITNESS: Halabi was -- not
    4    his firm. He was part of the office.
    5               And everybody in the office learned
    6    about the leak quite quickly, because --
    7    because, you know, when there are people
    8    involved in the investigation, you can
    9    just put in a -- a Google alert. And you
   10    don't have to actually look for it. It
   11    just pops up.
   12               The reason that it was Halabi
   13    that testified to this was because he would
   14    not be identified as an Israeli investigator.
   15    He was known as a journalist who wrote for
   16    local newspapers in the Emirates. And he
   17    volunteered. And this pleased the client,
   18    the customer. And -- and Halabi said that
   19    he told Stuart this and that wasn't a lie.
   20    And that didn't embarrass the customer.
   21    BY MR. BEHRE:
   22         Q.    But Halabi is Israeli; right?
   23         A.    Halabi is an Israeli Druze, who
   24    has an Arab name. Arab -- his name sounds
   25    Arab.

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    1               So there's a difference between
    2    coming with a name like mine or a typical
    3    Israeli name or having a name like Majdi
    4    Halabi, which is a very common name in
    5    Syria, Iraq, in fact, the whole Middle
    6    East.
    7         Q.    Why was it so important not to
    8    focus on the nationality of the speaker?
    9         A.    At the time, Israel didn't have
   10    diplomatic relations with the UAE. And
   11    according to what Stuart said, it was very
   12    worrying to the client that it might be --
   13    become known that he was using an Israeli
   14    contractor. He thought at that time that
   15    his enemies would use this information
   16    to topple him.
   17         Q.    And Halabi didn't really find
   18    the links, did he?
   19         A.    I don't know. As I said -- as
   20    I said, it popped up for everyone. And
   21    you didn't need to be an analyst with a
   22    Harvard education to figure it out.
   23         Q.    But Halabi now says that was
   24    all a lie.
   25               You're aware of that; right?

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    1         A.    I read Halabi's affidavit.
    2    He says we had at least four meetings
    3    to coordinate this thing, including
    4    visits in London to a number of places,
    5    including in Cyprus. And I can say
    6    unequivocally that he is lying.
    7               And, in Israel, there's no
    8    way to leave or come back into the
    9    country without having some record of
   10    it at the -- by the borders authority.
   11               And I can state that, on the
   12    dates that he says I met with him in
   13    London and in Cyprus, I was in Israel.
   14    I can only guess why he's lying.
   15         Q.    Well, with regard to his
   16    admission, his confession that he lied
   17    in court about finding the link, you
   18    don't know of any reason why he would
   19    lie about that, do you?
   20         A.    I -- I don't think he lied to
   21    the Court. But as far as his affidavit
   22    is concerned, it's riddled with lies.
   23               And I -- I can't say right now
   24    exactly what. But I can say that, on the
   25    dates that he says I was in London or in

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    1    Cyprus, I can say for a fact that I wasn't.
    2         Q.     And I'm just focusing on the
    3    fact that Halabi now confesses that he
    4    lied to the Court about finding the links.
    5                And you have no reason to
    6    believe that that confession was itself
    7    a lie, because why would somebody confess
    8    to the crime of misleading a Court and
    9    perjury if they hadn't done it?
   10         A.     If a client -- if I have a client
   11    that would ask me to investigate why he was
   12    lying, then I'll investigate. But I don't
   13    know why.
   14         Q.     Now, you testified earlier that
   15    you're involved in private investigation;
   16    correct?
   17         A.     Yes.
   18         Q.     And you don't provide IT services,
   19    do you?
   20         A.     I provide a security envelope
   21    for computers, not necessarily IT, not
   22    what you call IT.
   23                We've, for example, developed
   24    a telephone that can't be tapped into and
   25    all kinds of technological developments.

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    1         Q.    (Not translated.) But with regard
    2    to Project Beech, you didn't provide any IT
    3    security other than the open-ended e-mail
    4    system where you put the reports; right?
    5         A.    I did provide -- in Project Beech,
    6    I actually did provide consultation services
    7    regarding communication security.
    8         Q.    But that was a very small part
    9    of what you did for Project Beech; right?
   10         A.    It was part. I can't define it
   11    as big or small.
   12         Q.    (Not translated.) But several
   13    times today, I've asked you what you did
   14    for the two or $300,000.
   15               And you never mentioned that
   16    service; right?
   17               You just talked about doing
   18    these investigations in all these
   19    different countries.
   20               But you never once mentioned
   21    IT security, did you?
   22         A.    It's much easier to describe
   23    what happens in an investigation than
   24    to -- than to explain IT security. But
   25    we did do it.

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    1         Q.    But much of what you did for
    2    Project Beech was not IT security; right?
    3         A.    I can't exactly tell you what
    4    proportion. But it was part of the scope
    5    of work. And I wouldn't call it IT security
    6    in any case. It was more security protocols
    7    for computer, communications, and transfers.
    8               (Exhibit 5 marked.)
    9    BY MR. BEHRE:
   10         Q.    (Not translated.) Okay. I'd
   11    like to show you what we've marked as
   12    Exhibit No. 5, which is a letter of
   13    engagement between you, on behalf of
   14    Gadot Information Services, and Page
   15    Group Limited.
   16               Previously you testified that
   17    there was no written agreement between
   18    you and Mr. Page; correct?
   19         A.    (In English.) Correct.
   20               (Last question translated.)
   21               THE WITNESS: Correct.
   22    BY MR. BEHRE:
   23         Q.    So your testimony previously
   24    that there was no written agreement is
   25    inaccurate; correct?

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    1         A.    Not correct.
    2               First of all, I mentioned that
    3    sometimes we had problems with money
    4    transfers and that we sometimes made all
    5    sorts of engagements in order to resolve
    6    that problem.
    7               Second, I do not -- do not see
    8    here any signature of mine or anyone on
    9    my behalf.
   10               And, thirdly, once I finish
   11    reading this -- I'm in the process of
   12    reading it -- perhaps I will understand
   13    what this is connected to. Because it
   14    definitely is not connected to the Beech
   15    Project.
   16         Q.    Okay. Well, take your time to
   17    read it, then.
   18         A.    (Examining.) I do not see here
   19    any connection neither to SDC-Gadot nor
   20    to the Beech Project. And I do not see
   21    any signature of Gadot on this document.
   22               MR. BARET: Just for the record,
   23    this -- the -- this agreement is prior to
   24    the creation of Gadot SDC, which is about
   25    a year and change --

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    1                MR. BEHRE: Correct.
    2                MR. BARET: -- a year -- a year
    3    and a half probably before.
    4    BY MR. BEHRE:
    5         Q.     So it's -- you don't recall seeing
    6    this before?
    7         A.     No.
    8         Q.     You don't recall signing it?
    9         A.     I am not a signatory to this
   10    document.
   11         Q.     Okay. And its -- its content
   12    is inaccurate, isn't it?
   13         A.     The content could be accurate,
   14    because we are engaged in such projects.
   15                But this does not refer neither
   16    to the dates of the U.S. companies nor to
   17    the Beech Project. As I said before, we
   18    did other things for Stuart Page as well.
   19         Q.     Well, this one provides for
   20    almost two years of payments, the monthly
   21    amount to be a hundred and fifty to 200,000
   22    pounds, which equates to two hundred to two
   23    fifty [sic] U.S. dollars per month; right?
   24         A.     This is what is written here.
   25    But to the best of my recollection, these

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    1    are not the amounts that we received from
    2    Stuart Page to Gadot.
    3               And I repeat again, this has no
    4    connection whatsoever to SDC-Gadot or to
    5    Project Beech.
    6         Q.    Well, it refers, in the second
    7    paragraph, to IT services for Page Group's
    8    United Arab Emirates and Iraq clients.
    9               Page Group's United Arab Emirates
   10    client was RAK and the ruler of RAK, the
   11    boss; right?
   12         A.    RAK was not Stuart Page's only
   13    client in the Emirates.
   14         Q.    And you indicated that the
   15    reason SDC-Gadot was created was because
   16    of difficulty that Mr. Page was experiencing
   17    in wiring money to Gadot Information
   18    Services; right?
   19         A.    When he was trying to transfer
   20    funds from Dubai to Gadot Information
   21    Services. When he was transferring
   22    from London, there was no problem.
   23               (Exhibit 6 marked.)
   24    BY MR. BEHRE:
   25         Q.    I'd like to next show you what's

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    1    been marked as Exhibit No. 6. And this
    2    consists of seven invoices from SDC-Gadot
    3    LLC to Page Group.
    4         A.     (Examining.) So I don't need
    5    to bring them tomorrow?
    6         Q.     This might not be all of them.
    7         A.     May I keep this to compare?
    8                MR. BARET: Yeah. That's yours.
    9                MR. BEHRE: No. That's the court
   10    reporter's.
   11                MR. BARET: No, no.
   12                MR. BEHRE: But you -- that's yours.
   13                MR. BARET: We have. We have.
   14                THE WITNESS: (In English.) Okay.
   15                (Translated.) So what's the
   16    question?
   17    BY MR. BEHRE:
   18         Q.     Do you recognize these invoices?
   19    Are they issued by SDC-Gadot, as indicated?
   20         A.     Yes.
   21         Q.     And you'll note that each one of
   22    these invoices, in the "Description" area
   23    says the payment requested is for Project
   24    Beech; correct?
   25         A.     Yes. With a spelling mistake in

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    1    "beach."
    2         Q.    But other than the spelling mistake,
    3    they all concern Project Beech; right?
    4         A.    Correct.
    5         Q.    And the first two invoices state,
    6    in the second line of the "Description,"
    7    "according to agreement"; correct?
    8         A.    Yes. Correct.
    9         Q.    What agreement is that?
   10         A.    We would usually add this
   11    particular sentence because that would
   12    make the bank pay more easily.
   13         Q.    So that would mislead the bank
   14    into thinking there was an agreement when
   15    there wasn't an agreement; correct?
   16         A.    There was no written agreement.
   17    But even an oral agreement is an agreement.
   18         Q.    Were these invoices provided to
   19    the bank in the case of the first invoice
   20    to JP Morgan Chase?
   21         A.    I don't recall. It could be.
   22    But -- I don't recall. It could be. But
   23    I don't think that we supplied invoices
   24    to the American bank.
   25         Q.    What bank were you providing

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    1    invoices to?
    2         A.    Normally to the Israeli bank.
    3         Q.    And I note, in the first two
    4    invoices, that the address provided for
    5    SDC-Gadot in Miami Beach is not the same
    6    as the one that is contained in your
    7    corporate records, is it?
    8         A.    I have to check that. I have
    9    no answer right now why is it so.
   10         Q.    Whose address is 3200 Collins
   11    Avenue, as indicated in the two invoices?
   12         A.    I think -- I think -- I seem to
   13    remember that we may have rented, in the
   14    beginning, a physical mailbox. But it's
   15    not something that I remember precisely.
   16         Q.    So the first invoice in Exhibit
   17    6 is numbered Invoice 1019.
   18               Do you see that?
   19         A.    Yes.
   20         Q.    The second -- the second invoice
   21    is numbered Invoice 1024. And that -- and
   22    it's dated May 14, 2019.
   23               Whereas, the first invoice is
   24    dated November 6, 2018; correct?
   25         A.    Yes.

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    1         Q.    So it would appear, between
    2    November 18th -- November 2018 and May
    3    2019, there were only four other invoices
    4    that were issued by SDC-Gadot in six months;
    5    correct?
    6         A.    It is apparently correct. I
    7    have to check. It is also possible that
    8    the collection of funds due for the project
    9    was done for Insight.
   10               I can see that the 1024 was issued
   11    twice to JP Morgan and to Citibank as well.
   12    It would seem that we did not succeed in
   13    operating the account correctly at JP Morgan
   14    and that is why we -- we did it in Citibank.
   15    It's the same number.
   16         Q.    And you're referring to the third
   17    invoice dated May 14th, 2019, on the third
   18    page of the Exhibit 6; right?
   19         A.    Yes.
   20         Q.    And that particular invoice looks
   21    like it's been cut and pasted. If you look
   22    at the -- the area right below the line at
   23    the top of the page, that clearly was cut
   24    and pasted from some other document and
   25    placed on this.

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    1          A.   To me -- to me it seems that
    2    we simply started using another software
    3    for issuing invoices. But since I did not
    4    supply it, I -- I don't know who supplied
    5    it.
    6          Q.   Let me just go back to the invoice
    7    numbers again.
    8               In November 2018, you're on Invoice
    9    1019. In May 2019, six months later, you're
   10    only on Invoice 1024.
   11               That means SD -- SDC-Gadot only
   12    issued four invoices between those two in
   13    six months; right?
   14          A.   If you give me a minute, I'll
   15    go over it. I'll see all the entries
   16    from the bank.
   17               (Examining.) Yes. There are
   18    very few entries indeed.
   19          Q.   Meaning that SDC-Gadot didn't
   20    issue many invoices that weren't related
   21    to Project Beech; correct?
   22          A.   Are you talking about the entire
   23    period or only about these four months?
   24          Q.   It's six months. But yes.
   25          A.   Out of five invoices, there are

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    1    two pertaining to Beech.
    2          Q.    (Partially translated.) Okay.
    3    On the third invoice, the third page of
    4    the Exhibit 6, it looks like SDC-Gadot
    5    has gone deluxe and they have their own
    6    stamp; is that right?
    7                THE INTERPRETER: They've gone
    8    to?
    9                MR. BARET: They're what?
   10                THE INTERPRETER: They've gone
   11    to?
   12                MR. BEHRE: They have their own
   13    stamp.
   14                THE COURT REPORTER: "Gone deluxe."
   15                THE INTERPRETER: Hmm?
   16                THE COURT REPORTER: "Deluxe."
   17    "Deluxe." "Deluxe."
   18                MR. BARET: "Deluxe." Oh, okay.
   19                THE INTERPRETER: Okay.
   20                (Pending question fully translated.)
   21                THE WITNESS: Look at the amounts
   22    that we started receiving.
   23                MR. BARET: So it has a New York,
   24    New York.
   25    //

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    1    BY MR. BEHRE:
    2         Q.    And who -- who obtained that stamp?
    3         A.    I believe we probably bought it
    4    in some shop.
    5         Q.    And why is it only used on that
    6    one particular invoice, if you know?
    7         A.    Perhaps we lost it afterwards.
    8    I really don't know.
    9         Q.    Do you have any other invoices
   10    besides the ones you've seen here?
   11         A.    Tomorrow. I have to check.
   12    I have nothing on me here.
   13               MR. BARET: I should have been
   14    a doctor. I should have been a doctor.
   15               (Exhibit 7 marked.)
   16    BY MR. BEHRE:
   17         Q.    I'm showing you next -- showing
   18    you next more Gadot invoices. It appears
   19    to be 18 in number. And these are 18
   20    invoices issued in 2016 through August
   21    2017.
   22         A.    In August 2016 to August 2017,
   23    the U.S. companies were not set up yet.
   24         Q.    Correct.
   25               But I'm directing your attention

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    1    to the "Description" line where we just
    2    looked at a draft contract that you said
    3    you didn't recall. And yet these invoices
    4    all say:
    5                "IT security services Beech
    6    Project."
    7                Do you see that?
    8         A.     (Examining.) Yes.
    9         Q.     And come 2017, the difficulties
   10    you were having with getting wire transfers
   11    caused these to stop and you to use SDC-Gadot;
   12    correct?
   13         A.     No. The transfers by Stuart from
   14    Dubai to Israel were not possible.
   15         Q.     (Partially translated.) Well, the
   16    Stuart company is Page Protective Services.
   17                And they have an address in Hong
   18    Kong; right?
   19         A.     To the best of my understanding,
   20    we had agreed that we would focus on the
   21    U.S. companies. And because you came
   22    all the way from the United States, I
   23    was happy to expand and give you some
   24    further information beyond what we had
   25    originally agreed upon.

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    1               We are -- are in the midst of a
    2    procedure vis-a-vis the Court to determine
    3    what can be asked and what cannot be asked.
    4    And these questions relate to Gadot Israel.
    5         Q.    (Not translated.) What is Project
    6    Silk?
    7               THE COURT REPORTER: Project?
    8    BY MR. BEHRE:
    9         Q.    (Not translated.) What is Project
   10    Silk?
   11               THE INTERPRETER: "Silk"?
   12               MR. BEHRE: Like the fabric.
   13               (Pending question translated.)
   14               THE WITNESS: Another project
   15    which is not connected to the -- to the
   16    client.
   17    BY MR. BEHRE:
   18         Q.    Does it involve Khater Massaad?
   19         A.    If the truth be told, I do not
   20    remember fully. But generally speaking,
   21    everything that was related to Khater
   22    Massaad went into the Beech Project.
   23         Q.    But Project Silk might have
   24    involved Khater Massaad?
   25         A.    To the best of my recollection,

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    1    no.
    2          Q.   We talked earlier about Avi,
    3    who's pled guilty in New York to hacking;
    4    correct?
    5          A.   Correct.
    6          Q.   And in your case in Florida,
    7    you filed some text messages between
    8    you and Stuart Page in that case.
    9               Do you remember that?
   10          A.   You mean about Avi's case?
   11          Q.   (Not translated.) Well, I'm
   12    asking about a series of text message
   13    exchanges between you and Stuart Page.
   14               Do you remember that was attached
   15    to your filing in the U.S. District Court
   16    in Florida?
   17          A.   But it's not connected to Avi.
   18               (Exhibit 8 marked.)
   19    BY MR. BEHRE:
   20          Q.   Okay. Well, let -- let me show
   21    it to you.
   22               I'm going to show you Exhibit 5
   23    to your motion for protective order. And
   24    it's -- and it's -- it was filed electronically
   25    in U.S. District Court in Florida on June

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    1    14th, 2022. And it's Document 26-5. It
    2    was filed by you through your counsel.
    3         A.    Okay. (Examining.)
    4         Q.    You had a chance to look at that?
    5         A.    Yes.
    6         Q.    Directing your attention to the
    7    last page of the e-mail exchange.
    8               MR. BARET: WhatsApp. WhatsApp.
    9               MR. BEHRE: I'm sorry?
   10               MR. BARET: I think it's, like,
   11    a WhatsApp.
   12               MR. BEHRE: WhatsApp. I'm sorry.
   13    BY MR. BEHRE:
   14         Q.    Is this WhatsApp?
   15         A.    (In English.) Yeah.
   16               (Translated.) Yes.
   17         Q.    And you recently pulled this off
   18    of your WhatsApp so your lawyer could file
   19    it in court; right?
   20         A.    It wasn't recent. I -- I had
   21    saved it in the past as a picture.
   22         Q.    And have you saved any other
   23    WhatsApps between you and Stuart Page?
   24         A.    I have to scan and see.
   25         Q.    Okay. And will you do that?

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    1         A.     Yes.
    2         Q.     On the last page, you indicate --
    3    and this is part of your -- the carry-over
    4    statement:
    5                "As you know, I'm not really
    6    in the business since what happened"
    7    to "Avi." (As read.)
    8                What did you mean by that?
    9         A.     In my -- my meaning was that
   10    it's a -- it's a date that we are both
   11    familiar with. It's a date that indicates
   12    more or less when the activity in Israel
   13    went down. But it went down mostly because
   14    of COVID.
   15                Besides, what happened to Avi,
   16    in my opinion, it's some type of miscarriage
   17    of justice. But it is not connected to --
   18    to this.
   19         Q.     Well, what happened to Avi is
   20    Avi got arrested; right?
   21         A.     I don't even recall if I meant
   22    this Avi when I'm saying "Avi" here,
   23    because the other guy is Aviram, not
   24    Avi. So I'm not even sure that I'm
   25    referring to the same person.

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    1               (Comment in Hebrew.)
    2               MR. BARET: You don't have to
    3    talk about that.
    4               THE INTERPRETER: "Furthermore,
    5    my correspondence here -- here with Stuart
    6    is -- well, never mind."
    7    BY MR. BEHRE:
    8         Q.    (Not translated.) Well, the
    9    "I'm not really in the business since
   10    what happened to Avi," Avi was arrested
   11    and charged with hacking. Avi's pled
   12    guilty and confessed to hacking. And he
   13    was in the business of hacking.
   14               And the business you're referring
   15    to is hacking, isn't it?
   16         A.    (In English.) No.
   17               THE COURT REPORTER: You said
   18    "yeah"? "No"?
   19               THE INTERPRETER: "No."
   20               THE WITNESS: (In English.) "No."
   21               THE INTERPRETER: He said "no."
   22               THE COURT REPORTER: Okay. Let
   23    her translate.
   24               THE INTERPRETER: Okay.
   25               MR. BEHRE: He didn't need a

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    1    translation on that, did he?
    2               (Last question translated.)
    3               THE WITNESS: First and foremost,
    4    the person who was arrested was Aviram and
    5    not Avi. And, second, there's no connection.
    6               And, thirdly, I'm corresponding
    7    here with a person who is libeling me.
    8    So what do you expect?
    9    BY MR. BEHRE:
   10         Q.    (Not translated.) Would it
   11    surprise you if Stuart Page was certain
   12    you were talking about the Avi who's
   13    arrested for hacking?
   14               MR. BARET: You don't have
   15    to talk about this.
   16               He doesn't need to --
   17               MR. BEHRE: Why not?
   18               MR. BARET: -- address this.
   19               MR. BEHRE: What's that?
   20               MR. BARET: Again, this was
   21    provided to the Court with a motion for
   22    protective order not to depose Amit Forlit
   23    in his personal capacity. It's got nothing
   24    to do with SDC-Gadot.
   25               Again, you are confusing two --

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    1    two different filings. This -- this was
    2    filed with a motion for protective order.
    3    And you are bypassing our request for
    4    protection order.
    5               MR. BEHRE: No. It was. It
    6    was filed in Federal Court.
    7               MR. BARET: Correct.
    8               MR. BEHRE: It was filed on
    9    PACER via electronic --
   10               MR. BARET: Correct.
   11               MR. BEHRE: -- means.
   12               MR. BARET: For the purpose of --
   13               MR. BEHRE: And it's -- it's --
   14    it's arguably a statement about his business,
   15    which is the same as Avi's, which is hacking.
   16               MR. BARET: He's -- he's --
   17               MR. BEHRE: Now --
   18               MR. BARET: He answered that.
   19               MR. BEHRE: -- if you want to --
   20    if you want to say that that's not something
   21    we can reach, you can say it.
   22               MR. BARET: I'm saying it.
   23               MR. BEHRE: But it's going to
   24    be an -- okay. Then you've instructed
   25    him not to answer; right?

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    1               MR. BARET: I'm instructing
    2    him not to talk about this, because this
    3    is -- relates directly to his motion for
    4    protective order not to be deposed in his --
    5               MR. BEHRE: Well, he --
    6               MR. BARET: -- personal --
    7               MR. BEHRE: -- opened --
    8               MR. BARET: -- capacity.
    9               MR. BEHRE: -- the door -- he
   10    opened the door to this. And if you want
   11    this to go before the judge in Florida, we
   12    can do that. But, you know -- you know how
   13    that judge has already started to view him.
   14    So if you want --
   15               MR. BARET: Because --
   16               MR. BEHRE: -- to instruct him not
   17    to answer, you -- you -- be my -- if -- if
   18    that's your instruction, you go ahead.
   19               MR. BARET: He answered. But I
   20    think this line of questioning is inappropriate
   21    for the purpose of this deposition.
   22               MR. BEHRE: Okay. I'll move on.
   23    And we can raise it with the Court. Okay?
   24               (Exhibit 9 marked.)
   25    //

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    1    BY MR. BEHRE:
    2         Q.    I'm showing you next what we're
    3    marking as Exhibit 9. It's a September 7,
    4    2019, e-mail from your banker at Citi.
    5    His name is Mario Ros, R-o-s. And it's
    6    regarding your account with Citi.
    7         A.    (Examining.)
    8         Q.    Do you recognize that exhibit?
    9         A.    Yes. But I do not remember this
   10    mail.
   11         Q.    And Mr. Ros at Citibank is e-mailing
   12    you because at least he believes you're the
   13    person responsible for that bank account
   14    that we talked about earlier today; right?
   15         A.    He's trying to sell some banking
   16    service.
   17               MR. BEHRE: Okay. Why don't we
   18    take a quick break.
   19               THE WITNESS: (Comment in Hebrew.)
   20               MR. BARET: I think we're done
   21    with our -- today. It was set for -- from
   22    11:00 to 6:00.
   23               MR. BEHRE: 7:00.
   24               MR. BARET: Till 7:00?
   25               THE VIDEOGRAPHER: Going off the

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    1    record at 6:03.
    2               (Recess from 6:03 p.m. to 6:12 p.m.
    3         Israel Daylight Time.)
    4               THE VIDEOGRAPHER: Back on record
    5    at 6:12.
    6    BY MR. BEHRE:
    7         Q.    (Not translated.) Mr. Forlit,
    8    you indicated you might have some documents.
    9               Just so we're clear, do you have
   10    any copies of the project updates left?
   11         A.    (In English.) No.
   12               (Exhibit 10 marked.)
   13    BY MR. BEHRE:
   14         Q.    I'd like to show you what we're
   15    going to mark as Exhibit No. 10. It's --
   16    it's labeled or titled:
   17               "Project Beech Report - Farhad
   18    Azima."
   19         A.    (Examining.)
   20               MR. BARET: Looks good for his
   21    age, actually.
   22               MR. BEHRE: What?
   23               MR. BARET: He looks good for
   24    his age.
   25    //

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    1    BY MR. BEHRE:
    2          Q.   Have you had a chance to look
    3    at that report?
    4          A.   Yes.
    5          Q.   And this is one of the Project
    6    Beech reports, isn't it?
    7          A.   I can't tell. I did not keep
    8    it.
    9          Q.   Well, you were involved in its
   10    authorship, weren't you?
   11          A.   This is -- this is dated four --
   12    August 4, 2015 -- 2015. It's, like, seven
   13    years. And I -- we have not kept any record.
   14    We have destroyed everything. So I can't
   15    tell.
   16          Q.   Well, at 11:24 this morning, you
   17    stated as follows:
   18               "I have never investigated Farhas --
   19    Farhad Azima. The investigation was of
   20    Dr. Khater Massaad."
   21          A.   Correct.
   22          Q.   And this report starts and states
   23    as follows:
   24               "The following document presents
   25    a full intelligence report on Farhad Azima."

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    1               And he's -- and he's given the
    2    nickname of "the Generator"; right?
    3               The second line.
    4         A.    I say, once again, I do not know
    5    who wrote this report.
    6         Q.    And the third line states -- and
    7    I'll quote:
    8               "The main effort is placed in
    9    order to assist the client in taking the
   10    generator out of the dispute between KM
   11    and the client."
   12               End quote.
   13               (Brief telephone interruption.)
   14    BY MR. BEHRE:
   15         Q.    So this report talks about taking
   16    out Farhad Azima, doesn't it?
   17         A.    I did not go through it thoroughly
   18    right now. It's possible that there is
   19    a report. But I'm saying again, I do not
   20    know who wrote this report.
   21         Q.    Well, let me direct your attention
   22    to a few things.
   23               Look at page 3. There's a --
   24               MR. BARET: Again, same objection
   25    as before.

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    1               He answered some questions regarding
    2    this report. He said he didn't write it or
    3    know whose write it. [sic] It's -- again,
    4    it's not SDC-Gadot. It's two years before
    5    the cooperation of which has been represented
    6    today was created.
    7               If you get a chance to depose --
    8               MR. BEHRE: His --
    9               MR. BARET: -- him on a personal
   10    level, then we can go back --
   11               MR. BEHRE: He opened the door.
   12    He opened the door to this by saying:
   13    I never --
   14               MR. BARET: SDC --
   15               MR. BEHRE: -- investigated --
   16               MR. BARET: -- Gadot -- SDC --
   17               MR. BEHRE: Hold on.
   18               MR. BARET: -- Gadot --
   19               MR. BEHRE: No, no, no.
   20               MR. BARET: -- didn't open --
   21               MR. BEHRE: No.
   22               MR. BARET: -- the door. It's
   23    SDC-Gadot.
   24               MR. BEHRE: Let me read you the
   25    quote.

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    1               "I have never investigated Farhad
    2    Azima," period.
    3               MR. BARET: True. And he said --
    4               MR. BEHRE: This --
    5               MR. BARET: And he --
    6               MR. BEHRE: -- report establishes
    7    that not only did they investigate Farhad
    8    Azima --
    9               MR. BARET: Who's "they"?
   10               MR. BEHRE: -- they targeted him.
   11               MR. BARET: Who's "they"?
   12               MR. BEHRE: This report was written
   13    by your client.
   14               MR. BARET: He's -- he's saying he
   15    didn't write it.
   16               MR. BEHRE: He can say that. But
   17    I can ask him about it.
   18               MR. BARET: But he already answered --
   19               MR. BEHRE: He can --
   20               MR. BARET: -- it.
   21               MR. BEHRE: -- deny it under oath,
   22    if he'd like.
   23               MR. BARET: He just did.
   24               MR. BEHRE: But that doesn't prevent
   25    me from asking the questions.

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    1               MR. BARET: It -- it does, because --
    2               MR. BEHRE: So if you want to -- if
    3    you want to instruct him not to answer, we'll
    4    do this some more.
    5               Is that what -- are you instructing
    6    him --
    7               MR. BARET: I'm --
    8               MR. BEHRE: -- not to answer?
    9               MR. BARET: I'm saying that it's
   10    not the subject of today's deposition.
   11               MR. BEHRE: It is --
   12               MR. BARET: It's not --
   13               MR. BEHRE: -- because --
   14               MR. BARET: -- the subject --
   15               MR. BEHRE: Let me tell you why
   16    it is.
   17               Because he opened the door to it.
   18    By saying he didn't investigate Farhad Azima,
   19    he can be impeached with his own report --
   20               MR. BARET: But that's not his
   21    report.
   22               MR. BEHRE: -- that proves that
   23    he lied earlier today about investigating
   24    Farhad Azima.
   25               MR. BARET: That's what you're

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    1    saying. He's saying --
    2               MR. BEHRE: I -- it is --
    3               MR. BARET: -- he didn't write --
    4               MR. BEHRE: -- what I'm saying.
    5               MR. BARET: -- this -- but he's
    6    saying he didn't write this report.
    7               Do you have any --
    8               MR. BEHRE: Well, he can --
    9               MR. BARET: -- proof --
   10               MR. BEHRE: -- he can say --
   11               MR. BARET: -- that he wrote
   12    this report?
   13               MR. BEHRE: -- that all he wants.
   14               MR. BARET: He just did.
   15               MR. BEHRE: But I can examine,
   16    because it's a deposition.
   17               If you want to instruct him not
   18    to answer, be my guest. And we'll do this
   19    all again. And we will seek costs for
   20    this entire trip.
   21               MR. BARET: All I'm saying is
   22    that he answered it, that he said he's --
   23    it's not his report. Now, if he wants
   24    to continue answering, it's his choice.
   25               Go ahead, answer.

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    1    BY MR. BEHRE:
    2         Q.    (Not translated.) So if you look
    3    at page 3, there's what clearly appears to
    4    be a stolen copy of Farhad Azima's passport.
    5    If you look at page 6, you'll see --
    6               THE INTERPRETER: May I? Counsel,
    7    may I?
    8               (Last comment translated.)
    9    BY MR. BEHRE:
   10         Q.    If you look at page 6, there
   11    is data about the specific balance, down
   12    to the U.S. dollar, in his bank accounts,
   13    stolen financial data.
   14               And if you look at page 7, there's
   15    more stolen financial data about his brokerage
   16    accounts at HSBC and Credit Suisse, right
   17    down to the dollar.
   18               Do you see that?
   19         A.    Yes.
   20         Q.    Look at page 10 and 11.
   21               Did you prepare these organizational
   22    charts, or people under your direction?
   23         A.    No.
   24         Q.    Do you know who did?
   25         A.    No.

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    1          Q.   And if you look at page 12 and
    2    13, there's extracts of financial data
    3    regarding business opportunities that
    4    the, quote, "Generator," was involved
    5    in.
    6               And the same on page 14 and
    7    15 and 16, all stolen financial data.
    8    And then on page 18, there's another
    9    stolen passport.
   10               And then on page 21, another
   11    stolen passport. And 22, another stolen
   12    passport. And 24, another stolen passport
   13    and a driver's license.
   14               And then on page 27, extracts
   15    of his stolen e-mails, from Farhad Azima.
   16               Do you see that stolen e-mail
   17    that's embedded in this report?
   18          A.   Yes.
   19          Q.   More stolen e-mails on 30 -- page
   20    30 and 31 and 32 and 33.
   21               Where did these e-mails come from?
   22          A.   I do not know. I can estimate
   23    that, based on all his e-mails that were
   24    leaked, someone prepared that report.
   25          Q.   Well, this is almost a year

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    1    before the data was placed on the Internet.
    2               The date --
    3         A.    If you believe what is written
    4    here.
    5         Q.    The date?
    6         A.    Yes.
    7         Q.    So you think this is a falsified
    8    date?
    9         A.    I don't know. I have no clue.
   10         Q.    Well, at 11:41 this morning, you
   11    said that the reports you wrote started with
   12    an executive summary; right?
   13         A.    Correct.
   14         Q.    And you also stated that they were
   15    followed by a breakdown of the findings of
   16    the investigation; correct?
   17         A.    Correct.
   18         Q.    And that's exactly what this report
   19    does, doesn't it?
   20         A.    I also said that I -- I sent them
   21    in an open format to Mr. Stuart Page. And
   22    I also said that I did not retain any report.
   23         Q.    Were you involved in writing this
   24    report?
   25         A.    No.

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    1         Q.    A few minutes ago, you said you --
    2    you weren't sure one way or the other.
    3               Why are you now sure you weren't
    4    involved in it?
    5         A.    Because I see that this is a
    6    report of an investigation on Farhad Azima.
    7    And we never investigated Farhad Azima.
    8               (Exhibit 11 marked.)
    9    BY MR. BEHRE:
   10         Q.    (Partially translated.) I'm
   11    showing you next what has been marked
   12    as Exhibit No. 11. It's entitled:
   13               "Project Beech - Comprehensive
   14    Action Plan."
   15               It's dated January 26, 2016.
   16               THE INTERPRETER: What's the
   17    date?
   18               MR. BEHRE: January 26, 2016.
   19               Please --
   20               (Remainder of pending question
   21         translated.)
   22               THE WITNESS: (Examining.)
   23    BY MR. BEHRE:
   24         Q.    Have you had a chance to read
   25    that?

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    1         A.    (In English.) Yeah.
    2               (Translated.) Just I scanned
    3    through it as quickly as I could.
    4         Q.    And that's one of the Project
    5    Beech reports you prepared, isn't it?
    6         A.    I have no way of knowing, because
    7    I didn't keep any of the documents. It's
    8    possible that we prepared part of it and
    9    parts of it were added by Stuart afterwards.
   10    I have no way of knowing.
   11         Q.    Directing your attention to the
   12    second page, there's a photograph embedded
   13    in this graph, or this chart, with a
   14    photograph of Farhad Azima and Khater
   15    Massaad.
   16               Do you see that?
   17         A.    Yes.
   18         Q.    And the legend of the chart says
   19    those items in red suggest targets for
   20    future attack.
   21               Do you see that?
   22         A.    Yes.
   23         Q.    And so not only was Mr. Azima
   24    being investigated, he was being targeted
   25    and attacked, wasn't he?

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    1         A.     First of all, I don't remember
    2    if this report was even produced by us.
    3    And by "attack," it means an intelligence
    4    attack.
    5         Q.     (Not translated.) Previously
    6    you said that Farhad Azima was not
    7    investigated.
    8         A.     And that's why I have doubts
    9    as to whether this is indeed a report
   10    that we produced.
   11         Q.     Look at the third page. Quote:
   12                "We have been supplying the
   13    client with intelligence 'ammunition'
   14    against KM and other relevant players
   15    such as SI and FA."
   16                End quote.
   17                "FA" is Farhad Azima, isn't it?
   18         A.     I don't know who the "we" is.
   19         Q.     Look at page 6. The heading is
   20    entitled:
   21                "PR and Media Tools against FA."
   22                Do you see that?
   23         A.     Yes.
   24         Q.     And you can see there that it's
   25    talking about, in the second paragraph:

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    1               "There are other issues
    2    that can be" effectively -- "effective
    3    regarding FA's reputation and even
    4    pose him a criminal exposure." (As read.)
    5               End quote.
    6               Do you see that?
    7         A.    Yes.
    8         Q.    So it's clear, from that entry
    9    at this page 6, that Farhad Azima was
   10    being investigated, he was being targeted,
   11    and he was being exposed as a potential,
   12    having criminal liability.
   13               Do you see that?
   14         A.    I didn't say he wasn't. I just
   15    said that I and the people that I represent
   16    didn't do it. Fact -- it -- the fact is
   17    that somebody hacked him.
   18         Q.    Look at page 7.
   19               "We have access to a groundbreaking
   20    technology."
   21               And that's a quote.
   22               That groundbreaking technology
   23    was hacking, wasn't it?
   24         A.    No. First of all, I don't know
   25    who wrote this document and who has this

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    1    technology. And if somebody has hacking
    2    ability, they just write that they can
    3    hack.
    4         Q.     And then on page 9, the war
    5    terms continue:
    6                "In order to eliminate FA's
    7    activity" against the -- "regarding
    8    the client," it says. (As read.)
    9                Do you see that?
   10         A.     Where is it approximately on
   11    the page?
   12         Q.     (Not translated.) Page 9 --
   13                THE INTERPRETER: Page --
   14    BY MR. BEHRE:
   15         Q.     (Not translated.) -- under:
   16                "5. Involvement of" the "U.S.
   17    Relevant Authorities." (As read.)
   18         A.     This looks like a strategic document
   19    that somebody prepared. And this -- this
   20    is not a subject we deal with.
   21         Q.     Well, not only does this document
   22    entitled "Project Beech" --
   23                MR. BARET: Excuse me. That's
   24    not what he said.
   25                He said: "It's not our document."

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    1               THE INTERPRETER: Aah, you're right.
    2    Thank you.
    3               MR. BARET: Okay.
    4               THE INTERPRETER: "And it's not our
    5    document."
    6               Thank you.
    7    BY MR. BEHRE:
    8         Q.    This document is labeled:
    9               "Project Beech."
   10               You were involved in Project Beech.
   11    And this establishes, just like the last
   12    document, contrary to your testimony, that
   13    Farhad Azima was not only being investigated,
   14    he was being attacked, he was being targeted,
   15    and he was in jeopardy because of that.
   16               Isn't that right?
   17         A.    As I said, my reports on Project
   18    Beech were sent to Stuart Page in an open
   19    format. I don't know who else Stuart used
   20    the name Project Beech with. He made up
   21    that name.
   22               I know that we did not investigate
   23    Farhad Azima. We did not target him as
   24    a target. But it's quite clear that
   25    somebody did, because somebody hacked

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    1    and leaked his computers.
    2               And based on the procedures
    3    that are used in the U.S., I think you
    4    know who it is.
    5         Q.    And who would that be?
    6         A.    Nick Del Rosso. According --
    7    based on the proceedings against Nick
    8    Del Rosso, I conclude that.
    9         Q.    And what's your basis for
   10    saying Nick Del Rosso is the party who
   11    wrote this report?
   12               Is that what you're saying?
   13         A.    I didn't say Nick Del Rosso
   14    wrote this report. I said that we did
   15    not write this report.
   16               And based on all the proceedings
   17    that are being carried out, the person
   18    who is responsible for the hack and the
   19    leaks of the hacking is Nick Del Rosso.
   20         Q.    Now, you indicated that Nick
   21    Del Rosso and Stuart Page did not get
   22    along; right?
   23         A.    I heard from Stuart that he
   24    didn't like, to put it mildly, Nick Del
   25    Rosso. But I -- I didn't even know if

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    1    they knew each other.
    2          Q.   And the reason Stuart Page
    3    didn't like Nick Del Rosso is because
    4    Stuart Page thought Nick Del Rosso was
    5    taking business away from Stuart Page;
    6    correct?
    7          A.   I don't know.
    8          Q.   (Not translated.) Nick Del
    9    Rosso didn't report to Stuart Page,
   10    did he, because they hated each other?
   11          A.   To the best of my knowledge,
   12    no.
   13          Q.   And so, therefore, Nick Del
   14    Rosso is not a likely suspect for the
   15    content of this report, since he would
   16    have had to give it to his archenemy,
   17    Stuart Page, to incorporate it in the
   18    report; right?
   19          A.   (Translated.) I'm not attributing
   20    this report to anyone's authorship. I'm
   21    just saying that we didn't write it and
   22    we did not investigate --
   23               (In English.) Farhad Azima.
   24               THE INTERPRETER: Sorry. It's
   25    late.

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    1               MR. BARET: Say "FA." Just
    2    use --
    3               THE INTERPRETER: "FA."
    4               MR. BARET: -- "FA."
    5               THE INTERPRETER: Yeah. It's
    6    late in the day.
    7    BY MR. BEHRE:
    8         Q.    Stuart Page paid you millions
    9    of dollars and your company, including
   10    SDC-Gadot; correct?
   11         A.    That is correct.
   12         Q.    And -- and he paid you to
   13    perform work for Project Beech; correct?
   14         A.    Yes, he paid me. But I don't
   15    know how much he charged for it. I don't
   16    know what proportion of what he got he
   17    paid me.
   18               The bottom line is I don't know
   19    what reports were submitted to the client.
   20    I know what I sent to Stuart Page. But
   21    I don't know what he submitted afterwards.
   22         Q.    Do you know what portion of this
   23    particular report, Exhibit 11, you provided
   24    to Stuart Page?
   25         A.    No. We don't have any documentation

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    1    of these reports in our records. I don't
    2    know.
    3         Q.    Well, Stuart Page was your boss.
    4    And he paid you millions of dollars. And
    5    he said you and your team authored every
    6    one of these project updates about Project
    7    Beech.
    8               Is that accurate?
    9         A.    Stuart Page told me, before
   10    he gave his affidavit, that he tried
   11    to commit suicide twice because they
   12    pressured him and forced him to cooperate.
   13               What I know is that we sent
   14    reports to Stuart Page, at his request
   15    the reports were left open, and that
   16    we did not investigate Farhad Azima.
   17         Q.    (Not translated.) Earlier
   18    today you had some, I think, ten or
   19    eleven pages of notes. And we'd ask
   20    that that be marked as an exhibit since
   21    the witness had it in front of him.
   22               MR. BARET: He did not use it.
   23    It's privileged. It's notes we prepared
   24    just going over --
   25               MR. BEHRE: His notes were prepared

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    1    in your presence?
    2               MR. BARET: Yes.
    3               MR. BEHRE: Okay. One second. I'm
    4    almost done. Okay. That's all I have. Thank
    5    you very much.
    6               THE VIDEOGRAPHER: Going off the
    7    record at 6:49.
    8               (The deposition concluded at 6:49 p.m.
    9         Israel Daylight Time.)
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    1                    CERTIFICATE OF REPORTER
    2
    3               I, BRENDA MATZOV, CSR NO. 9243, do
    4    hereby certify:
    5               That, prior to being examined, the
    6    witness named in the foregoing deposition was
    7    asked to acknowledge that their testimony will
    8    be true under the penalties of perjury and will
    9    be the truth, the whole truth, and nothing but
   10    the truth.
   11               That the foregoing deposition was taken
   12    before me, at which time the aforesaid proceedings
   13    were stenographically recorded by me and thereafter
   14    transcribed by me;
   15               That the foregoing transcript, as typed,
   16    is a true record of the said proceedings;
   17               And I further certify that I am not
   18    interested in the action.
   19
   20               Dated this 30th day of July, 2022.
   21
   22               _________________________________________
                    BRENDA MATZOV, CSR NO. 9243
   23
   24
   25

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    1                     CERTIFICATE OF WITNESS
    2
    3               I, AMIT FORLIT, witness herein, do
    4    hereby certify and declare the within and
    5    foregoing transcription to be my examination
    6    under oath in said action taken on July 20,
    7    2022, with the exception of the changes
    8    listed on the errata sheet, if any;
    9               That I have read, corrected, and
   10    do hereby affix my signature under penalty
   11    of perjury to said examination under oath.
   12
   13
   14
   15
   16    ____________________________________         _____________
                 AMIT FORLIT, Witness                      Date
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    1                           ERRATA SHEET
    2    Case:      FARHAD AZIMA vs. INSIGHT ANALYSIS AND
    3               RESEARCH LLC AND SDC-GADOT LLC
    4    Date:      JULY 20, 2022
    5    Witness: AMIT FORLIT
    6
    7    Page _____ Line _____ Change _______________________
    8    Reason _____________________________________________
    9    Page _____ Line _____ Change _______________________
   10    Reason _____________________________________________
   11    Page _____ Line _____ Change _______________________
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   19    Page _____ Line _____ Change _______________________
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   21    Page _____ Line _____ Change _______________________
   22    Reason _____________________________________________
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         ____________________________________         _____________
   24            AMIT FORLIT, Witness                      Date
   25

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